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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                 Chapter 11

    JUNO USA, LP, et al., 1                                Case No. 19-12484 (MFW)

                     Debtors.                              (Joint Administration Requested)


      MOTION OF THE DEBTORS FOR ENTRY OF INTERIM AND FINAL ORDERS
       (I) AUTHORIZING THE DEBTORS TO OBTAIN POSTPETITION SECURED
           FINANCING, (II) AUTHORIZING THE USE OF CASH COLLATERAL,
              (III) MODIFYING THE AUTOMATIC STAY, (IV) SCHEDULING
               A FINAL HEARING, (V) AND GRANTING RELATED RELIEF

             Juno USA, LP and affiliated debtors and debtors in possession (collectively, the

“Debtors”), by and through their proposed counsel, Chipman Brown Cicero & Cole, LLP, hereby

file this motion (the “Motion”), pursuant to sections 105(a), 362, 364(c)(2), 364(d) and 507 of title

11 of the United States Code (as amended, the “Bankruptcy Code”), Rules 2002, 4001, 6003,

6004, and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

Rules 4001-2 and 9013-1 of the Local Rules of Bankruptcy Practice and Procedure of the United

States Bankruptcy Court for the District of Delaware (the “Local Rules”), for entry of an interim

order, substantially in the form attached hereto as Exhibit A (the “Interim Order”), and a final

order (the “Final Order,” and the Final Order together with the Interim Order, the “DIP Orders”)

(a) authorizing the Debtor, as borrower, to obtain secured postpetition financing (the “DIP

Financing” or the “DIP Facility”) pursuant to that certain Senior Secured Superpriority Debtor-

in-Possession Financing Term Sheet (the “DIP Term Sheet 2,” and with the DIP Orders, the “DIP



1
      The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification number,
      are: Juno USA, LP (5772); Sabo One LLC (2759); Juno Oregon LLC (4462); Vulcan Cars LLC (4733); GT Forge,
      Inc. (1093); and Omaha LLC (8656). The mailing address for the Debtors listed above is 74 West Long Lake
      Road, Suite 205, Bloomfield Hills, Michigan 48304.
2
      A copy of the DIP Term Sheet is attached to the Interim Order as Exhibit 1.
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Facility Documents”), (b) authorizing the use of Cash Collateral (as defined below), (c) modifying

the automatic stay, (d) scheduling a final hearing (the “Final Hearing”), and (e) granting related

relief.    In support of the Motion, the Debtors rely upon and incorporate by reference the

Declaration of Melissa S. Kibler in Support of First Day Pleadings (the “First Day Declaration”)

filed with the Court concurrently with this Motion. In further support of the Motion, the Debtors

respectfully represent as follows:

                                        JURISDICTION

          1.    The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over these Chapter 11 Cases, the Debtors, property of the Debtors’ estates and this

matter under 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

United States District Court for the District of Delaware, dated as of February 29, 2012. This is

a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A). Pursuant to Local Rule 9013-

1(f) the Debtors consent to the entry of a final judgment or order with respect to this Motion if it

is determined that the Court, absent consent of the parties, cannot enter final orders or judgments

consistent with Article III of the United States Constitution.

          2.    Venue of these cases in this District is proper under 28 U.S.C. §§ 1408 and 1409.

          3.    The statutory bases for the relief requested in the Motion are sections 105(a), 362,

364(c)(2), 364(d) and 507 of the Bankruptcy Code. The relief is also appropriate under Bankruptcy

Rules 2002, 4001, 6003, 6004, and 9014 and Local Rules 4001-2 and 9013-1.

                                        BACKGROUND

          4.    On the date hereof (the “Petition Date”), each of the Debtors filed with this Court

a voluntary petition for relief under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”).




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         5.       The Debtors continue to oversee their businesses and manage their properties as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. As of the

date hereof, no trustee, examiner, or official committee of unsecured creditors has been appointed

in the Debtors’ Chapter 11 Cases. No date has been set for a meeting pursuant to section 341 of

the Bankruptcy Code.

         6.       Additional factual background regarding the Debtors, including their business

operations, capital and debt structures, and the events leading to the filing of these Chapter 11

Cases is set forth in detail in the First Day Declaration, which is incorporated in this Motion by

reference.

                                 DEBTOR’S CAPITAL STRUCTURE

         7.       Prior to the Petition Date, the Debtors’ operations were funded on an unsecured

basis by GT Gettaxi Limited (the “Parent” or the “DIP Lender”) through intercompany transfers. 3

Sberbank Investments (“Sberbank”), as Security Agent, holds a perfected, first-priority all asset

lien against Debtor GT Forge, Inc. (“GT Forge”), which is based on a secured guaranty granted

by GT Forge, including its partnership interest in Debtor Juno USA, LP (“Juno”), in connection

with the Parent’s secured financing facility (the “Sberbank Lien”). In addition, Juno maintains a

money market account at Citibank, which collateralizes two letters of credit covering Juno’s

corporate leases in Manhattan and Portland, Oregon (the “LCs”). The Debtors have no other

secured financing obligations.

         8.       With respect to the Sberbank Lien, the Debtors believe that Sberbank will consent

to having its lien in the assets of Debtor GT Forge primed by the proposed DIP Financing.



3
    The Parent previously held a first-priority perfected, all asset lien against Debtors Juno USA, LP and Vulcan Cars
    LLC (the “Parent Liens”). In 2017, the loan underlying the Parent Liens was converted to equity. Accordingly,
    the Parent Liens were terminated and released.

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Sberbank has also consented to the Debtors’ use of its Cash Collateral at GT Forge. The other

Debtors’ Cash Collateral is otherwise unencumbered. Finally, the LCs will be carved out from the

DIP Lender’s Collateral (as defined below).

                         ALTERNATIVE FINANCING EFFORTS

         9.    Prior to the Petition Date, Mackinac Partners, LLC (“Mackinac”), the Debtors’

restructuring advisor and Melissa S. Kibler (“Ms. Kibler”), the Debtors’ Chief Restructuring

Officer (the “CRO”), evaluated options for obtaining unsecured debtor in possession financing

(“DIP”) or alternative DIP financing. Given that (a) the Debtors have few assets other than the

tax assets held by Debtor GT Forge , which cannot be sold to or used by any other entity or party,

(b) the Debtors have ceased all of their “business-to-consumer” (“B2C”) operations and have no

future revenue stream, and (c) Sberbank has a first-priority lien against all of GT Forge’ assets ,

including its partnership interest in Juno, Mackinac determined that it is highly unlikely that the

Debtors would be able to obtain DIP financing on an unsecured or secured basis from any another

source. None the less, prior to the Petition Date, Mackinac solicited several distressed lenders and

received no indications of interest with respect to financing the Debtors during these Chapter 11

Cases.

         10.   Ultimately, the Debtors, in conjunction with their advisors, determined that the

terms and conditions of the proposed DIP Financing was the best available under the circumstances

and adequately addresses the Debtors’ financing needs during these Chapter 11 Cases.

Importantly, the DIP Financing was negotiated at arms’-length by the proposed DIP Lender, the

Debtors’ proposed counsel, and the CRO, and was vetted and approved by David Eaton, the

Debtors’ independent director (the “Independent Director”).




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         11.      The DIP Financing is necessary to effectuate the Debtors’ goals in these Chapter

11 Cases and beyond. As set forth in more detail in the First Day Declaration, the Debtors are

seeking to liquidate their B2C operations. To this end, GT Forge intends to develop strategic

partnerships with certain competitors in the ride-hailing space and, through this restructuring

process, intends to emerge as a member of a leading global “business-to-business” (“B2B”)

transportation network company.

                                           RELIEF REQUESTED

         12.      By this Motion, the Debtors seek entry of the DIP Orders (a) authorizing the

Debtors to borrow funds under the DIP Facility in an aggregate principal amount of up to

$1,000,000.00 on an interim basis 4 and up to $4.5 million on a final basis (collectively, the “DIP

Loans”), pursuant to the terms and conditions of the DIP Term Sheet; (b) modifying the automatic

stay to the extent necessary to grant the DIP Lender the security interests, liens, and secured claims

set forth under the DIP Facility; (c) authorizing the Debtors’ use of Cash Collateral (as defined

below); (d) scheduling the Final Hearing, and (e) granting related relief.

               SUMMARY OF PRINCIPAL TERMS OF THE DIP FACILITY 5

         13.      Pursuant to Bankruptcy Rule 4001 and Local Rule 4001-2, the following is a

concise summary of the proposed material terms of the DIP Facility and the DIP Term Sheet.

                              Juno USA, LP, as a debtor and debtor in possession in the Chapter 11
        Borrower              Cases (the “Borrower”).




4
    While the Debtors believe that they will have sufficient cash to fund much of their efforts for the first four weeks
    of these Chapter 11 Cases, the Debtors are requesting access of up to $1,000,000 of the DIP Loans on an interim
    basis out of an abundance of caution, in the event the filing of these cases negatively impacts the timing of the
    receipt of certain accounts receivable.
5
    The below is intended to be a summary only and the terms of the DIP Term Sheet and the DIP Facility Documents
    control in all respects. Capitalized terms set forth in this summary shall have the meaning ascribed to them in the
    DIP Term Sheet.

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                     Debtors other than the Borrower.
   Guarantors
                     The Borrower and Guarantors are collectively referred to herein as the
                     “Loan Parties.”

DIP Administrative
                   N/A
     Agent


   DIP Lender
                     GT Gettaxi Limited or an affiliate entity thereof (the “DIP Lender”).

                     The DIP Facility shall comprise a term loan (in an aggregate principal
                     amount of up to $4.5 million (the “Commitment”).

                     An initial amount of $1,000,000.00 will be made available upon entry
        DIP          of an Interim Order, in form and substance satisfactory to the DIP
Facility/Borrowing   Lender in its sole discretion, approving the DIP Financing. The
       Limits        remainder of the facility will be made available subject to entry of the
                     Final Order, in form and substance satisfactory to the DIP Lender in its
 Bankruptcy Rule     sole discretion, approving the DIP Facility on a final basis.
  4001(c)(1)(B)
                     The DIP Facility is provided for the purposes listed under “Use of
                     Proceeds” below in accordance with the Approved Budget (as defined
                     below).

  Interest Rate      All amounts outstanding under the DIP Facility will PIK interest at a
                     fixed rate equivalent to the LIBOR Rate plus 8% per annum, which fixed
 Bankruptcy Rule     rate shall be determined as of the DIP Closing Date (as defined below)
  4001(c)(1)(B)
                     As used herein, the term “LIBOR Rate” will have meaning customary
                     and appropriate for financings of this type, and the basis for calculating
                     accrued interest and the interest periods for loans bearing interest at the
                     LIBOR Rate will be customary and appropriate for financings of this
                     type; provided that in no event will the LIBOR Rate be less than 1.50%.

                     During the continuance of an Event of Default, the DIP Loans and all
                     other outstanding obligations will bear interest at an additional 1% per
                     annum above the interest rate otherwise applicable.

      Fees

 Bankruptcy Rule     N/A
  4001(c)(1)(B)


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                       The 13-week statement of receipts and disbursements for the next 13
      Budget           weeks of the Loan Parties, broken down by week, including the
                       anticipated uses of the DIP Facility for such period (“Approved
 Bankruptcy Rule       Budget”), and thereafter at the end of each week an updated 13-week
  4001(c)(1)(B)        projection for the subsequent 13-week period (which in each case must
                       be satisfactory to the Lender in its sole discretion). A copy of the
                       Approved Budget is attached to the Interim Order as Exhibit 2.
                       The DIP Loans shall be funded into a cash collateral account at a
                       depository approved by the DIP Lender, and the amounts in the account
                       that may be drawn out during each week will be limited to the maximum
                       amount of DIP Loans projected to be utilized during such week in
                       accordance with the Approved Budget.

                       The Debtors shall provide a budget variance report/reconciliation (the
                       “Budget Variance Report”) by 12:00 p.m. prevailing Eastern Time on
                       Wednesday of each week for the week most recently ended: (i) showing
                       by line item actual cash receipts, disbursements, professional fees,
                       capital expenditures, and billings for the immediately preceding week,
                       the immediately preceding rolling four-week, cumulative period on and
                       after the entry of the Interim Order, noting therein all variance, on a line-
                       item basis, from amounts set forth for such period in the Approved
                       Budget, and shall include explanations for all material variance for such
                       week; and (ii) certified by a responsible officer of the Debtors.

   Closing Date        The date on or after the entry of the Interim Order on which the
                       “Conditions to DIP Closing” described in Appendix I to the DIP Term
 Bankruptcy Rule       Sheet (excluding “Conditions to Final Loan”) have been satisfied or
  4001(c)(1)(B)        waived by the Lender (the date of such closing, the “DIP Closing
                       Date”).
     Conditions
 Precedent to the      (i)    The Chapter 11 Cases shall have been commenced in the Court
Initial Extension of          and all of the “first day orders” and all related pleadings to be
 Credit and Each              entered at the time of commencement of the Chapter 11 Cases or
        Loan                  shortly thereafter shall have been reviewed in advance by the DIP
                              Lender;
 Bankruptcy Rule
  4001(c)(1)(B)        (ii)   The Bankruptcy Court shall have entered an Interim Order as to
                              the DIP Facility (and no appeal thereof shall have been filed or
                              remain pending) which Interim Order shall be in form and
                              substance satisfactory in the sole discretion of the Lender and shall
                              be in full force and effect, and shall not (in whole or in part) have
                              been reversed, modified, amended, stayed, vacated, appealed or
                              subject to a stay pending appeal or otherwise challenged or subject
                              to any challenge; and



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                       (iii) All orders entered by the Bankruptcy Court, including orders
                             pertaining to cash management, and all other motions and
                             documents filed or to be filed with, and submitted to, the
                             Bankruptcy Court in connection therewith shall be in form and
                             substance satisfactory to the DIP Lender, be in full force and
                             effect, and shall not (in whole or in part) have been reversed,
                             modified, amended, stayed or vacated absent prior written consent
                             of the DIP Lender.

     Maturity         The DIP Loans shall be repaid in full, and the Commitment shall
                      terminate, on the earliest to occur (the “Maturity Date”) of (i) the date
  Bankruptcy Rule     that is 45 days after entry of the Interim Order by the Bankruptcy Court,
   4001(c)(1)(B)      if Final Order has not been entered by the Bankruptcy Court on or prior
                      to such date, (ii) the date the Bankruptcy Court orders the conversion of
                      the bankruptcy case of any of the Loan Parties to a Chapter 7 liquidation
                      or the dismissal of the bankruptcy case of any Loan Party, (iii) the
                      acceleration of the DIP Loans and the termination of the Commitment
                      under the DIP Facility, (iv) the sale of all or substantially all of the Loan
                      Parties’ assets, and (v) the effective date of the joint plans of
                      reorganization and liquidation for the Loan Parties.

     Collateral
                      The assets described below under DIP Liens/Superpriority
  Bankruptcy Rule
                      Administrative Claim Status, collectively, the “Collateral.”
   4001(c)(1)(B)


       DIP          All obligations under the DIP Facility, subject to the Carve-Out (as
Liens/Superpriority defined below), shall at all times:
  Administrative
   Claim Status         (i) pursuant to Section 364(c)(1) of the Bankruptcy Code, be
                             entitled to superpriority claim status having priority over any
  Bankruptcy Rule            and all other claims;
   4001(c)(1)(B)
                        (ii) pursuant to Section 364(c)(2) of the Bankruptcy Code, be
                             secured by a perfected first-priority lien on all unencumbered
                             now-owned or after-acquired Property (as defined below) of the
                             Loan Parties that are not otherwise subject to any lien; and

                          (iii) pursuant to Section 364(c)(3) of the Bankruptcy Code, be
                                secured by a perfected junior lien on all now-owned or after-
                                acquired Property of the Loan Parties that are subject to (x) any
                                valid, perfected and non-avoidable lien in existence on the
                                Filing Date, or (y) any valid lien in existence on the Filing Date



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                that is perfected subsequent to the Filing Date by Section
                564(b) of the Bankruptcy Code.

           (iv) pursuant to Section 364(d) of the Bankruptcy Code, be secured
                by a perfected priming lien on all now-owned or after-acquired
                Property of the Loan Parties, including Sberbank’s first-priority
                lien against all of GT Forge’ assets, subject to (x) any valid,
                perfected and non-avoidable lien in existence on the Filing
                Date, or (y) any valid lien in existence on the Filing Date that
                is perfected subsequent to the Filing Date by Section 564(b) of
                the Bankruptcy Code.

       “Collateral” or “Property” shall mean, with respect to any of the Loan
       Parties, all real and personal property of such Loan Party including,
       without limitation, (i) all cash, money, cash equivalents, deposit
       accounts, securities accounts, accounts, other receivables, chattel paper,
       contract rights, goods and inventory (wherever located), instruments,
       documents, securities (whether or not marketable) and investment
       property (including, without limitation, all of the issued and outstanding
       capital stock of each of its subsidiaries), furniture, fixtures, equipment,
       franchise rights, trade names, trademarks, servicemarks, copyrights,
       patents, intellectual property, general intangibles of any kind, rights to
       the payment of money, supporting obligations, guarantees, general
       intangibles, letter of credit rights, other than the LCs, commercial tort
       claims, causes of action and all substitutions, books and records related
       to the foregoing, and accessions and proceeds of the foregoing, wherever
       located, including insurance or other proceeds; (ii) all owned real
       property, all leased real property, all rents and leases from any real
       property interests, and all other proceeds of real property; (iii) subject to
       the entry of a Final Order, avoidance actions brought pursuant to claims
       and causes of actions under Sections 502(d), 544, 545, 547, 548, 549,
       550, 551, 553, 732(2) or 742(2) of the Bankruptcy Code; (iv) subject to
       the entry of a Final Order, rights under Section 506(c) of the Bankruptcy
       Code and (v) all proceeds of the foregoing. For the avoidance of doubt,
       the DIP Collateral shall include all the foregoing rights, property, claims,
       and interests, without regard as to whether such rights, property, claims,
       and interests came into the Loan Parties’ estates, or otherwise arose,
       after the Filing Date.

       All of the liens described herein (collectively, the “DIP Liens”) with
       respect to the assets of the Loan Parties shall be effective and perfected
       by the Interim Order and the Final Order and without the necessity of
       the execution of mortgages, security agreements, pledge agreements,
       financing statements or other agreements.




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  Prepayments

Bankruptcy Rule     The DIP Loans may be permanently prepaid in full by the Loan Parties
 4001(c)(1)(B)      at any time.


                    The Loan Parties shall achieve the following milestones (the
DIP Milestones      “Milestones”):

Bankruptcy Rule        (i) commencement of the Chapter 11 Cases (the “Filing Date”) no
 4001(c)(1)(B)             later than November 19, 2019;

                       (ii) filing with the Bankruptcy Court the non-consolidated, joint
                            prearranged plans of reorganization and liquidation of the Loan
                            Parties in form and substance reasonably acceptable to the DIP
                            Lender (the “Plan”) and disclosure statement (“Disclosure
                            Statement”) within twenty (20) business days of the Filing
                            Date;

                        (iii) obtaining entry of a Bankruptcy Court order, in form and
                              substance satisfactory to the DIP Lender, approving the
                              Disclosure Statement within eighty (80) days of the Filing Date;

                        (iv) obtaining entry of a Bankruptcy Court order, in form and
                             substance satisfactory to the DIP Lender, confirming the Plan
                             within one hundred and twenty (120) days of the Filing Date;
                             and

                        (v) the effective date of the Plan shall be within ten (10) days of
                             entry of an order confirming the Plan, and in any event, no more
                             than one hundred and thirty (130) days following the Filing
                             Date.

                    The DIP Facility shall contain events of default customary or appropriate
Events of Default   in the context of the proposed DIP Facility or as otherwise required by
                    the Lender (the “Events of Default”), including, without limitation: (i)
Bankruptcy Rule     any amendment, supplement or other modification to the Loan Parties’
 4001(c)(1)(B)      Plan, without the consent of the DIP Lender; (ii) the entry of an order
                    approving any disclosure statement in support of a plan of reorganization
                    and/or liquidation other than the Plan unless consented to by the DIP
                    Lender; (iii) the violation of any term, provision or condition in the
                    Interim Order or Final Order; (iv) dismissal of the Chapter 11 Cases; (v)
                    entry of a judgment or order by the Bankruptcy Court or any other court
                    modifying, limiting, subordinating, re-characterizing, or avoiding the
                    validity, enforceability, perfection, or priority of any of the Loan Parties’
                    obligations under the DIP Facility or the liens securing the DIP Facility
                    (or any invalidation or impairment of liens or security interests of the

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                      DIP Lender shall otherwise occur), or, subject to entry of the Final
                      Order, imposing, surcharging or assessing against the DIP Lender’s
                      interest in the Collateral, any costs or expenses, whether pursuant to
                      sections 506(c) or 552 of the Bankruptcy Code; (vi) the making of any
                      payment or disbursement that is not set forth as a line item on the
                      Approved Budget; and (vii) failure to satisfy any Milestones.

  Parties with an
 Interest in Cash     Sberbank Investments, as Security Agent, holds a perfected, first-
    Collateral        priority all asset lien against Debtor GT Forge. Sberbank has consented
                      to the use of Debtor GT Forge’s cash Collateral. No other party has an
 Bankruptcy Rule      interest in the Debtors’ cash collateral.
 4001(b)(1)(B)(i)

Purposes for Use of   Subject to the terms and conditions herein, the proceeds of DIP Facility
  DIP Proceeds        will be used in accordance with the terms of the Approved Budget,
                      including, without limitation, to fund the (i) administration of the
 Bankruptcy Rule      Chapter 11 Cases, (ii) orderly winding down of operations and
 4001(b)(1)(B)(ii)    liquidation of the assets of the Liquidating Debtors, (iii) Reorganizing
                      Debtor’s business in the ordinary course during the Chapter 11 Cases,
                      (iv) payment of the DIP Lenders’ fees and expenses, and (v) payment of
                      Administrative Expense Claims (including professional fee claims and
                      503(b)(9) claims), Priority Tax Claims and Other Priority Claims (each
                      such term as defined in the Approved Plan).

                      No portion of the Borrowers’ cash collateral and other cash (collectively,
                      the “Cash Collateral”), the DIP Loans, the Collateral or the Carve-Out
                      may be used to investigate, commence or prosecute any action,
                      proceeding or objection with respect to or related to the claims, liens or
                      security interests of the DIP Lender.
                      The Carve Out is the sum of: (i) all fees required to be paid to the Clerk
    Carve-Out         of the Bankruptcy Court and to the Office of the United States Trustee
                      under section 1930(a) of title 28 of the United States Code plus interest
 Bankruptcy Rule      at the statutory rate (without regard to the notice set forth in (iii) below);
  4001(c)(1)(B)       (ii) all reasonable fees and expenses incurred by a trustee under Section
 Local Rule 4001-     726(b) of the Bankruptcy Code (without regard to the notice set forth in
     2(a)(ii)         (iii) below); (iii) to the extent allowed at any time, whether by interim
                      order, procedural order, or otherwise, all unpaid fees and expenses (the
                      “Allowed Professional Fees”) incurred by persons or firms retained by
                      the Debtors or the Committee pursuant to Sections 327, 328, 363 or 1103
                      of the Bankruptcy Code (the “Retained Professionals”) at any time
                      before or on the first business day following delivery by the Lender of a
                      Carve Out Trigger Notice (as defined below), whether allowed by the
                      Bankruptcy Court prior to or after delivery of a Carve Out Trigger
                      Notice; and (iv) Allowed Professional Fees of Retained Professionals in
                      an aggregate amount not to exceed $50,000.00 incurred after the first
                      business day following delivery by Lender of the Carve Out Trigger

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                      Notice, to the extent allowed at any time, whether by interim order,
                      procedural order, or otherwise (the amounts set forth in this clause (iv)
                      being the “Post-Carve Out Trigger Notice Cap”). For purposes of the
                      foregoing, “Carve Out Trigger Notice” shall mean a written notice
                      (including email or other electronic means) by the DIP Lender to the
                      Debtors, their lead restructuring counsel, the U.S. Trustee and any
                      Committee appointed in these Chapter 11 Cases, which notice may be
                      delivered following the occurrence and during the continuation of an
                      Event of Default and acceleration of the obligations under the DIP
                      Facility, stating that the Post-Carve Out Trigger Notice Cap has been
                      invoked.


  Modification of
  Automatic Stay      The automatic stay shall be modified as necessary to effectuate all of the
                      terms and provisions of the Interim Order and Final Order, including,
 Bankruptcy Rule      without limitation, to permit the Debtors to grant the DIP Liens.
 4001(c)(1)(B)(iv)

                      Subject to the entry of the Final Order, in light of the Budget covering
  Section 506(c)      all administrative costs projected by the Debtors, the DIP Lender is
     Waiver           entitled to a waiver of the provisions of section 506(c) of the Bankruptcy
                      Code.
 Local Rule 4001-
    2(a)(i)(C)        The entry of a final, non-appealable order in the Debtors’ Chapter 11
                      Cases charging any of the Collateral under section 506(c) of the
                      Bankruptcy Code against the DIP Lender shall be an event of default.

 Indemnification      The Loan Parties shall, jointly and severally, be obligated to indemnify
                      and hold harmless the DIP Lender, and its officers, directors, fiduciaries,
 Bankruptcy Rule      employees, agents, advisors, attorneys and representatives from and
 4001(c)(1)(B)(ix)    against all losses, claims, liabilities, damages, and expenses (including,
                      without limitation, out-of-pocket fees and disbursements of counsel) in
                      connection with any investigation, litigation or proceeding, or the
                      preparation of any defense with respect thereto, arising out of or relating
                      to the DIP Facility or the transactions contemplated in the DIP Term
                      Sheet.


Liens on Avoidance Subject to entry of a Final Order, the obligations of the Debtors under
      Actions      the DIP Facility shall, subject to the Carve-Out, at all times pursuant to
                   section 364(c)(2) of the Bankruptcy Code, be secured by a perfected,
  Bankruptcy Rule  first priority security interest and lien on the proceeds of Avoidance
 4001(c)(1)(B)(xi) Actions.




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     Waiver of
     Marshaling
    Doctrine and
                          Upon entry of the Final Order, the DIP Lender shall not be subject to the
   Equities of Case
                          equitable doctrine of “marshaling” or any other similar doctrine with
     Exception
                          respect to any of the Collateral.
   Bankruptcy Rule
  4001(c)(1)(B)(viii)


             HIGHLIGHTED PROVISIONS UNDER LOCAL RULE 4001-2(A)(1)

       14.     The Interim Order includes certain terms that constitute material provisions

requiring explicit disclosure under the Local Rules. The provisions described in Local Rule 4001-

2(a)(i), to the extent applicable, are set in the following sections of the Interim Order:

               a.       Local Rule 4001-2(a)(i)(A) – Cross Collateralization. The Interim Order
                        provides for the guaranty of the DIP Obligations by all of the Debtors, at
                        paragraph 3.

               b.       Local Rule 4001-2(a)(i)(B) – Validity, Perfection, and Amount
                        Prepetition Liens. The Interim Order contains no provisions or findings of
                        fact that bind the estate or other parties in interest with respect to the
                        validity, perfection, or amount of any prepetition liens.

               c.       Local Rule 4001-2(a)(i)(C) – Section 506(c) Waiver. With respect to
                        expenses incurred prior to the Final Hearing, the Interim Order contains a
                        waiver of any right to asset claims or to surcharge against the Collateral.
                        See Interim Order, at paragraph 28.

               d.       Local Rule 4001-2(a)(i)(D) – Liens on Avoidance Actions. Subject to the
                        entry of the Final Order, the obligations of the Debtors under the DIP
                        Facility shall, subject to the Carve-Out, at all times pursuant to section
                        364(c)(2) and 364(d) of the Bankruptcy Code, be secured by a priming
                        perfected, first priority security interest and lien on the proceeds of
                        Avoidance Actions. See Interim Order, at paragraph 8.

               e.       Local Rule 4001-2(a)(i)(E) – Provisions Deeming Prepetition Debt to be
                        Postpetition Debt. The Interim Order contains no provisions that deem
                        prepetition debt to be postpetition debt or that use postpetition loans from a
                        prepetition secured creditor to pay part or all of that secured creditor’s
                        prepetition debt.



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               f.     Local Rule 4001-2(a)(i)(F) – Disparate Treatment of Professionals
                      Retained by the Committee. The Interim Order contains no provisions that
                      provide for disparate treatment of professionals retained by a Creditors’
                      Committee, if any, with respect to the Carve-Out.

               g.     Local Rule 4001-2(a)(i)(G) – Non-Consensual Priming. As described
                      above, the Debtors believe that Sberbank will consent to have the Sberbank
                      Lien being primed and the LCs have been carved out of the DIP Collateral.

               h.     Local Rule 4001-2(a)(i)(H) – Provisions Affecting the Court’s Power to
                      Consider Equities of the Case. Upon entry of the Final Order, the DIP
                      Lenders shall not be subject to the equities of the case under section 552(b)
                      of the Bankruptcy Code, the equitable doctrine of “marshaling,” or any
                      other similar doctrine with respect to any of the Collateral. See Interim
                      Order, at paragraph 26.

                                     BASIS FOR RELIEF

I.     THE DIP FACILITY SHOULD BE APPROVED.

       A.      Entering into the DIP Financing Documents Is an Exercise of the Debtor’s
               Sound Business Judgment.

       15.     The Court should authorize the Debtors, as an exercise of the Debtors’ sound

business judgment, to enter into the DIP Facility Documents, obtain access to the DIP Facility,

and continue using the Cash Collateral. Section 364 of the Bankruptcy Code authorizes a debtor

to obtain secured or superpriority financing under certain circumstances discussed in detail below.

Courts grant a debtor-in-possession considerable deference in acting in accordance with its

business judgment in obtaining postpetition secured credit, so long as the agreement to obtain such

credit does not run afoul of the provisions of, and policies underlying, the Bankruptcy Code. See,

e.g., In re L.A. Dodgers LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011) (“[C]ourts will almost

always defer to the business judgment of a debtor in the selection of the lender.”); In re Trans

World Airlines, Inc., 163 B.R. 964, 974 (Bankr. D. Del. 1994) (approving postpetition loan and

receivables facility because such facility “reflect[ed] sound and prudent business judgment”); In

re Ames Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“Cases permit reasonable


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business judgment to be exercised so long as the financing agreement does not contain terms that

leverage the bankruptcy process and powers or its purpose is not so much to benefit the estate as

it is to benefit parties in interest.”).

        16.      Specifically, to determine whether the business judgment standard is met, a court

need only “examine whether a reasonable business person would make a similar decision under

similar circumstances.” In re Exide Techs., 340 B.R. 222, 239 (Bankr. D. Del. 2006); see also In

re Curlew Valley Assocs., 14 B.R. 506, 513–14 (Bankr. D. Utah 1981) (noting that courts should

not second guess a debtor’s business decision when that decision involves “a business judgment

made in good faith, upon a reasonable basis, and within the scope of [the debtor’s] authority under

the [Bankruptcy] Code”).

        17.      Furthermore, in considering whether the terms of postpetition financing are fair and

reasonable, courts consider the terms in light of the relative circumstances of both the debtor and

the potential lender. In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo. 2003); see

also Unsecured Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank & Trust Co. (In re

Elingsen McLean Oil Co., Inc.), 65 B.R. 358, 365 (W.D. Mich. 1986) (recognizing a debtor may

have to enter into “hard bargains” to acquire funds for its reorganization). The Court may also

appropriately take into consideration non-economic benefits to the debtor offered by a proposed

postpetition facility.

        18.      The Debtors’ determination to move forward with the DIP Facility is an exercise

of their sound business judgment following an arms’ length process and careful evaluation of their

lack of alternatives. Specifically, and in the face of limited cash on hand, the Debtors and their

advisors determined that the Debtors will require significant postpetition financing to support its

operational restructuring and liquidation activities. The DIP Lender was the only party willing to



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provide financing to the Debtors. Accordingly, the Debtors negotiated the DIP Facility Documents

with the DIP Lender in good faith, at arms’ length, and with the assistance of its advisors. The

Debtors believe that they have obtained the best and only financing available. Entry into the DIP

Facility is in the best interests of the Debtors’ estates and is an exercise of the Debtors’ sound

business judgment and should be approved.

       B.      The Debtors are authorized to Incur the DIP Obligations Under Section
               364(c)(2) of the Bankruptcy Code.

       19.     The Debtors propose to obtain financing under the proposed DIP Facility by

providing security interests and liens as set forth above pursuant to section 364(c)(2) of the

Bankruptcy Code. The statutory requirement for obtaining postpetition credit under section 364(c)

of the Bankruptcy Code is a finding, made after notice and a hearing, that a debtor is “unable to

obtain unsecured credit allowable under section 503(b)(1) of [the Bankruptcy Code].” 11 U.S.C.

§ 364(c); see Pearl-Phil GMT (Far East) Ltd. v. Caldor Corp., 266 B.R. 575, 584 (S.D.N.Y. 2001)

(superpriority administrative expenses authorized where debtor could not obtain credit as an

administrative expense); In re Ames Dept. Stores, Inc., 115 B.R. 34, 37–39 (Bankr. S.D.N.Y. 1990)

(debtor must show that it made reasonable efforts to seek other sources of financing); In re Garland

Corp., 6 B.R. 456, 461 (1st Cir. BAP 1980) (secured credit under § 364(c)(2) was authorized, after

notice and a hearing, upon showing that unsecured credit was unobtainable); In re Crouse Group,

Inc., 71 B.R. 544, 549 (Bankr. E.D. Pa. 1987) (debtor seeking credit under section 364(c) of the

Bankruptcy Code must prove that it cannot obtain unsecured credit pursuant to section 364(b) of

the Bankruptcy Code).

       20.     Where, as is case here, a debtor is unable to obtain unsecured credit, section

364(c)(2) of the Bankruptcy Code provides that a debtor may obtain credit “secured by a lien on

property of the estate that is not otherwise subject to a lien.” 11 U.S.C. § 364(c)(2). In addition


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to authorizing financing under section 364(c) of the Bankruptcy Code, courts also may authorize

a debtor to obtain postpetition credit secured by a lien that is senior or equal in priority to existing

liens on the encumbered property, without the consent of the existing lienholders, if the debtor

cannot otherwise obtain such credit and the interests of existing lienholders are adequately

protected. See 11 U.S.C. § 364(d)(1). Consent by the secured creditors to priming obviates the

need to show adequate protection. See Anchor Savs. Bank FSB v. Sky Valley, Inc., 99 B.R. 117,

122 (N.D. Ga. 1989) (“[B]y tacitly consenting to the superpriority lien, those [undersecured]

creditors relieved the debtor of having to demonstrate that they were adequately protected.”).

Accordingly, the Debtors may incur “priming” liens under the DIP Facility if they are unable to

obtain unsecured or junior secured credit and either (a) the prepetition secured parties have

consented or (b) the prepetition secured parties’ interests in collateral are adequately protected. As

of the Petition Date, the Collateral is not encumbered by any secured liens other than the Sberbank

Lien at GT Forge, which Sberbank has agreed to subordinate to the DIP Loans. Further, as

described above, the Debtors were unable to obtain unsecured credit or postpetition financing on

a junior basis under section 364(c)(3) of the Bankruptcy Code. Finally, as set forth in further detail

in the First Day Declaration, the Debtors have determined to liquidate all operations relating to

their B2C business line and intend to reorganize around Debtor GT Forge to focus on the B2B

market post emergence from chapter 11. Through these Chapter 11 Cases, the Debtors intend to

liquidate all pending litigation claims and efficiently and properly wind down their B2C

operations. The Debtors’ require the DIP Financing to achieve these goals through chapter 11 and

to pay all administrative expenses and confirm their Plan. Given the Debtors’ circumstances, the

Debtors believe that the terms of the DIP Facility, as set forth in the DIP Facility Documents, are

fair, reasonable, and adequate, all as more fully set forth herein.



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       C.      The DIP Financing is Necessary to Preserve the Value of the Debtors’ Estates.

       21.     The Debtors have liquidity needs and require financing to fund the administration

of the bankruptcy cases. Among the Debtors’ most valuable assets are certain tax attributes at

Debtor GT Forge. As noted in the First Day Declaration, the Debtors intend to wind down their

B2C operations and reorganize around GT Forge, emerging with their tax attributes intact and

poised to commence reentry into the market as a global B2B provider. In addition, through the

Chapter 11 Cases, the Debtors will work to recover assets of the estates, including the return of

equipment from drivers, will liquidate all remaining assets of the Liquidating Debtors, and resolve

all claims in an efficient and cost-effective manner.

       22.     The Debtors require access to the DIP Facility to be able to continue to operate GT

Forge and pay their administrative expenses as they become due. This relief will enable the

Debtors to restructure their business in a manner that will permit it to preserve and maximize value

for all parties in interest and avoid immediate and irreparable harm.

       D.      The Terms of the DIP Financing are Fair, Reasonable, and Appropriate.

       23.     After appropriate investigation and analysis, the Debtors have concluded that the

DIP Financing presents the best route available under the circumstances. Bankruptcy courts

routinely defer to a debtor’s business judgment on substantive business decisions, including the

decision to borrow money, unless such decisions fail the arbitrary and capricious standard. See

Ames, 115 B.R. at 40 (court should approve borrowings pursuant to § 364(c) and (d) if the debtor

was within its business judgment); In re Mid-State Raceway, Inc., 323 B.R. 40, 58–59 (Bankr.

N.D.N.Y. 2005) (same); see also In re Trans World Airlines, Inc., 163 B.R. 964, 974 (Bankr. D.

Del. 1994) (noting that approval of an interim loan, receivables facility, and asset-based facility

“reflect[ed] sound and prudent business judgement… [was] reasonable under the circumstances



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and in the best interest of [the debtor] and its creditors.”). Indeed, “more exacting scrutiny would

slow the administration of the Debtor’s estate and increase its cost, interference with the

Bankruptcy Code’s provision for private control of administration of the estate and threaten the

court’s ability to control a case impartially.” Richmond Leasing Co. v. Capital Bank, N.A., 762

F.2d 1303, 1311 (5th Cir. 1985) (citations omitted).

       24.     The terms and conditions of the DIP Financing are fair and reasonable. As

discussed above, the Debtors properly assessed their financing needs and the DIP Financing

proposal, and in the sound exercise of the Debtors’ business judgment, the DIP Financing

represents the best option available under the circumstances. The DIP Lender has agreed to

provide no-fee DIP Financing on extremely favorable terms that are below or at market. The

Debtors’ advisors, the CRO, and the Independent Director, on the one hand, and the DIP Lender

on the other hand, negotiated the terms of the DIP Financing. The outcome of those negotiations

resulted in, among other things, a lower PIK interest rate, more favorable milestones, a revised

maturity date and a higher facility amount. The DIP Lender has also agreed to provide exit

financing to further assist the Debtors in achieving their pre- and post-emergence goals. Therefore,

the Debtors decided to accept the DIP Financing with the DIP Lender.

       25.     The proposed DIP Financing subjects the security interests and secured claims of

the DIP Lender to the Carve-Out, thereby ensuring that, in the event of a default under the DIP

Term Sheet, the Debtors’ estates and other parties-in-interest are not directly or indirectly deprived

of possible rights and powers by restricting the services for which professionals may be paid in

this case. In Ames, the Court found such carve-outs for professional fees not only reasonable, but

necessary to ensure that official committees and the debtors’ estate could retain assistance from




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counsel. See Ames, 115 B.R. at 38–40 (“Absent such protection, the collective rights and

expectations of all parties-in-interest are sorely prejudiced.”).

         26.     Further, the negotiated DIP Milestones are a crucial element of the terms of the DIP

Financing, and their inclusion in the Interim Order is important to ensure that the Chapter 11 Cases

proceed in a strategic, value-maximizing fashion. In similar contexts, this Court has entered

interim financing orders that included express milestones for the progress of a debtor’s case.

See, e.g., In re Horsehead Holding, Case No. 16-10287 (CSS) (Bankr. D. Del. Feb. 4, 2016)

[Docket No.81] (approving case milestones in the interim DIP financing order); In re Verso Corp.,

Case No. 16-10163 (KG) (Bankr. D. Del. Jan. 27, 2016) [Docket No.105] (same); In re Cal Dive

Int’l, Case No. 15-10458 (CSS) (Bankr. D. Del. Mar. 9, 2015) [Docket No.74] (same); In re ADI

Liquidation, Inc. (f/k/a AWI Delaware, Inc.), Case No. 14-12092 (KJC) (Bankr. D. Del. Sept. 10,

2014) [Docket No.58] (same); In re Handy Hardware Wholesale, Inc., Case No. 13-10060 (MFW)

(Bankr. D. Del. Jan. 14, 2013) (same). 6

         27.     Finally, this Court has previously approved DIP facilities where the parties to the

financing had entered into a binding term sheet rather than a full credit agreement. See, e.g.,

Consolidated Infrastructure Group, Inc., Case No. 19-10165 (BLS) (Bankr. D. Del. Jan. 31, 2019);

In re Alcor Energy, LLC, Case No. 18-12839 (CSS) (Bankr. D. Del. Dec. 21, 2018) [Docket No.27]

(authorizing DIP financing pursuant to a binding term sheet); In re ABT Molecular Imaging, Inc.,

Case No. 18-11398 (LSS) Bankr. D. Del. June 15, 2018) [Docket No.33] (same); In re Outer

Harbor Terminal, LLC, Case No. 16-10283 (LSS) (Bankr. D. Del. Feb. 9, 2016) [Docket No.52].




6
    The referenced orders are voluminous in nature and are not attached to this Motion. However, in light of the
    requirements of Local Rule 7007-2(a)(vii), undersigned counsel has retained copies of each order and will make
    them available to the Court, if requested, or to any party that requests them.

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Thus, for these reasons and the reasons set forth above, the DIP Facility on the terms set forth in

the DIP Term Sheet should be approved.

       E.       The Use of Cash Collateral is Appropriate.

       28.      Section 363 of the Bankruptcy Code generally governs the use of estate property.

Section 363(c)(2) provides that:

                The trustee may not use, sell or lease cash collateral… unless—

                (A)    each entity that has an interest in such collateral consents; or

                (B)    the court, after notice and a hearing, authorizes such use, sale or lease in
                       accordance with the provisions of this section.

11 U.S.C. § 363(c)(2). Section 363(e) provides for adequate protection of interests in property

when a debtor uses cash collateral.

       29.      Prior to the Petition Date, the Debtors’ Cash Collateral was largely unencumbered,

however, GT Forge’s cash, including, without limitation, all cash and other amounts on deposit or

maintained by GT Forge as well as any cash proceeds derived from the disposition of any of GT

Forge’s Collateral, constitute proceeds of GT Forge’s Collateral and, therefore are cash collateral

of Sberbank within the meaning of section 363(a) of the Bankruptcy Code (the “Cash

Collateral”).

       30.      Prior to the Petition Date, the company relied on cash on hand, cash generated from

their operations, and cash provided by the Parent, to fund working capital, capital expenditures,

and for other general corporate purposes. During these Chapter 11 Cases, the Debtors will need

access to their Cash Collateral to satisfy employee, tax, and other administrative obligations, as

well as to make any other payments that are essential for the orderly wind down of the Debtors’

B2C business and to effectuate the Debtors’ chapter 11 goals. An inability to use funds during

these Chapter 11 Cases could severely impact the success of these Chapter 11 Cases. Indeed,


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without access to Cash Collateral, the Debtors and their estates will suffer immediate and

irreparable harm.

       31.     As set forth above, prior to the Petition Date, the Debtors’ Cash Collateral was

largely unencumbered, however, Sberbank holds an all-asset lien against GT Forge’s assets. The

Debtor believes that Sberbank will consented to the Debtors’ use of its Cash Collateral as well as

to being primed by the DIP Financing. Accordingly, the Debtors respectfully submit that the use

of Cash Collateral is fully consensual, is in the best interests of the Debtors’ estates and should be

approved.

       F.      Modification of the Automatic Stay is Appropriate.

       32.     Section 362 of the Bankruptcy Code provides for an automatic stay upon the filing

of a bankruptcy petition. The DIP Facility Documents require a modification of the automatic stay

to implement the terms of the DIP Financing.

       33.     Stay modification provisions of this kind are ordinary and standard features of

postpetition DIP financing facilities and, in the Debtors’ business judgment, are reasonable under

the present circumstances. As noted above, the Debtors are unable to obtain unsecured credit

allowable as an administrative expense under section 503(b)(1) of the Bankruptcy Code in an

amount sufficient and readily available. Further, the Debtors have not been able to obtain DIP

financing on terms more favorable than those proposed herein. The terms and conditions of the

DIP Financing, including the modification of stay provisions, are fair and reasonable, and were

negotiated in good faith and at arms’ length by parties represented by sophisticated counsel.

Accordingly, in light of the circumstances and the material benefits afforded to the Debtors by the

DIP Financing, the modification of the automatic stay is warranted and appropriate.




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        G.      A Final Hearing Should be Set.

        34.     Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtors request that

the Court set a date for the Final Hearing as soon as practicable, but in no event later than thirty

(30) days following the Petition Date.

        35.     The Debtors request authorization to serve a copy of the signed Interim Order,

which fixes the time and date for the filing of objections, if any, by first class mail upon the notice

parties set forth below. The Debtors request that the Court consider such notice of the Final

Hearing to be sufficient notice under Bankruptcy Rule 4001.

        H.      The Requirements of Bankruptcy Rule 6003 are Satisfied.

        36.     Bankruptcy Rule 6003 empowers a court to grant relief within the first twenty-one

(21) days after the petition date “to the extent that relief is necessary to avoid immediate and

irreparable harm.” For the reasons discussed above, authorizing the Debtors to obtain postpetition

secured financing under the DIP Facility and modifying the automatic stay imposed by section 362

of the Bankruptcy Code to the extent necessary to implement and effectuate the terms of the

Interim Order and the DIP Facility, as well as granting the other relief requested herein, is integral

to the Debtors’ ability to wind down their B2C operations and focus on restructuring around GT

Forge with a focus on the B2B market. Failure to receive such authorization during the first

twenty-one (21) days of these Chapter 11 Cases would severely hamper the Debtors’ ability to

ensure a smooth entry into chapter 11 at this critical juncture, destroying value and irreparably

harming all parties in interest.




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       37.     For the reasons discussed herein, this relief is necessary in order for the Debtors to

maximize the value of their estates for the benefit of all stakeholders. Accordingly, the Debtors

submit that it has satisfied the “immediate and irreparable harm” standard of Bankruptcy Rule

6003 to support granting the relief requested herein.

       I.      Bankruptcy Rule 6004(a) Should be Waived.

       38.     To implement the foregoing successfully, the Debtors request that the Court enter

an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a).

       39.     The Debtors further seek a waiver of any stay of the effectiveness of the order

approving this Motion. Pursuant to Bankruptcy Rule 6004(h), “[a]n order authorizing the use,

sale, or lease of property other than cash collateral is stayed until the expiration of 14 days after

entry of the order, unless the court orders otherwise.” As set forth above, the DIP Financing is

essential to prevent potentially irreparable damage to the Debtors. Accordingly, the Debtors

submit that ample cause exists to justify a waiver of the fourteen (14) day stay imposed by

Bankruptcy Rule 6004(h), to the extent it applies.

                                RESERVATION OF RIGHTS

       40.     Nothing contained herein is, is intended to be, or should be construed as an

admission regarding the validity of any claim against the Debtors, a waiver of the Debtors’ right

to dispute any claim, or an approval or assumption of any agreement, contract, or policy under

section 365 of the Bankruptcy Code. The Debtors expressly reserve their right to contest any claim

related to the relief sought herein. Likewise, should the Court grant the relief sought herein, any

payment made pursuant to an order of the Court is not, is not intended to be, and should not be

construed as an admission as to the validity of any claim or a waiver of the Debtors’ rights to

subsequently dispute such claim.



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                                             NOTICE

       41.     Notice of this Motion will be provided to: (i) the Office of the United States Trustee

for the District of Delaware; (ii) the United States Attorney for the District of Delaware; (iii) the

parties included on the Debtors’ consolidated list of twenty (20) largest unsecured creditors; (iv)

the Internal Revenue Service; (v) the Securities and Exchange Commission; (vi) Sberbank and its

counsel; (vii) counsel to the proposed DIP Lender; and (viii) all known holders of liens in the

Debtors’ assets; (ix) the Debtors’ landlords. As this Motion is seeking “first day” relief, notice of

this Motion and any order entered in connection with the Motion will be served on all parties

required by Local Rule 9013-1(m). Due to the urgency of the circumstances surrounding this

Motion and the nature of the relief in it, the Debtors respectfully submit that no further notice of

this Motion is required.




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        WHEREFORE, the Debtors respectfully request that the Court enter: (i) the Interim Order,

substantially in the form attached hereto as Exhibit A, granting the relief requested herein on an

interim basis; (ii) the Final Order granting the relief requested herein on a final basis; and (iii) grant

such other and further relief as the Court may deem just and proper.

Dated: November 19, 2019                        CHIPMAN BROWN CICERO & COLE, LLP
       Wilmington, Delaware


                                                /s/ William E. Chipman, Jr.
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                                                Proposed Counsel to the Debtors and
                                                Debtors-In-Possession




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     EXHIBIT A
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                 Chapter 11

    JUNO USA, LP, et al., 1                                Case No. 19-12484 (MFW)

                     Debtors.                              (Joint Administration Requested)


    INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO OBTAIN POSTPETITION
       SECURED FINANCING, (II) AUTHORIZING THE DEBTORS TO USE CASH
             COLLATERAL, (III) MODIFYING THE AUTOMATIC STAY,
                     AND (IV) GRANTING RELATED RELIEF

             This matter coming before the Court upon the Motion of the Debtors for Entry of Interim

and Final Orders (I) Authorizing the Debtors to Obtain Postpetition Secured Financing, (II)

Authorizing the Debtors to Obtain Postpetition Secured Financing, (II) Authorizing the Debtors

to Use Cash Collateral, (III) Modifying the Automatic Stay, and (IV) Granting Related Relief (the

“Motion”), 2 pursuant to sections 105(a), 362, 364(c)(2), 364(d) and 507 of the Bankruptcy Code,

Bankruptcy Rules 2002, 4001, 6003, 6004, and 9014, and Local Rules 4001-2 and 9013-1, seeking

entry of an Interim Order and a Final Order (collectively, “DIP Orders”) (a) authorizing the

Debtor, as borrower, to obtain secured postpetition financing (the “DIP Financing” or the “DIP

Facility”) from GT Gettaxi Limited (the “DIP Lender“) pursuant to that certain Senior Secured

Superpriority Debtor-in-Possession Financing Term Sheet (the “DIP Term Sheet 3,” and with the

DIP Orders, the “DIP Facility Documents”), (b) authorizing the use of Cash Collateral, (c)

modifying the automatic stay, (d) scheduling a final hearing (the “Final Hearing”), and (e)


1
      The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification number,
      are: Juno USA, LP (5772); Sabo One LLC (2759); Juno Oregon LLC (4462); Vulcan Cars LLC (4733); GT Forge,
      Inc. (1093); and Omaha LLC (8656). The mailing address for the Debtors listed above is 74 West Long Lake
      Road, Suite 205, Bloomfield Hills, Michigan 48304.
2
      Capitalized terms used but not defined specifically in this Interim Order shall have the meanings ascribed to them
      in the Motion.
3
      A copy of the DIP Term Sheet is attached hereto as Exhibit 1.
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granting related relief; and upon consideration of the First Day Declaration; and this Court having

found that (i) this Court has jurisdiction to consider the Motion and the relief requested therein

under 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United

States District Court for the District of Delaware, dated February 29, 2012, (ii) this Court may

enter a final order consistent with Article III of the United States Constitution, (iii) this is a core

proceeding under 28 U.S.C. § 157(b)(2)(A), (iv) venue of this proceeding and the Motion in this

District is proper under 28 U.S.C. §§ 1408 and 1409, and (v) the Debtors’ notice of the Motion

and opportunity for a hearing were adequate and appropriate under the circumstances; and this

Court having reviewed the Motion; and this Court having determined that the legal and factual

bases set forth in the Motion and the First Day Declaration establish just cause for the relief granted

herein; and this Court having found and determined that the relief sought in the Motion is in the

best interests of the Debtors’ estates, their creditors and other parties in interest; and after due

deliberation and sufficient cause appearing therefor,

       NOW, THEREFORE, IT IS HEREBY FOUND AND CONCLUDED THAT:

       A.      Petition Date: On November 12, 2019, each of the Debtors filed a voluntary

petition under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

District of Delaware (the “Court”), commencing these chapter 11 cases.

       B.      Debtor in Possession: The Debtors are continuing in the management of their

businesses and properties as debtors in possession pursuant to sections 1107 and 1108 of the

Bankruptcy Code. No trustee or examiner has been appointed in these Chapter 11 Cases.

       C.      Committee Formation: As of the date hereof, the Office of the United States Trustee

for the District of Delaware (the “U.S. Trustee”) has not appointed any statutory committee (each

a “Committee”) in these Chapter 11 Cases.

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D.     Findings Regarding Postpetition Financing and Use of Cash Collateral:

            i. Good Cause.       Good cause has been shown for the entry of this

Interim Order.

           ii. Request for Postpetition Financing and Use of Cash Collateral. The

Debtors seek authority to borrow funds under the DIP Facility Documents. The DIP

Lender shall have no obligation to make loans or advances under the DIP Facility except

to the extent required under the DIP Facility Documents and shall have no obligation to

waive any conditions required thereunder. The Debtors also seek authority to use Cash

Collateral on the terms described herein, and in accordance with the Approved Budget,

attached hereto as Exhibit 2, (the “Approved Budget”) to administer these Chapter 11

Cases and fund the Debtors’ restructuring efforts.

          iii. Need for Postpetition Financing and Use of Cash Collateral. The Debtors’

need to use Cash Collateral and obtain credit as set forth in the DIP Term Sheet is

immediate and critical in order to enable the Debtors to swiftly and efficiently liquidate

their B2C operations and reorganize around Debtor GT Forge, Inc. The absence of

immediate access to funds under the DIP Facility would immediately and irreparably harm

the Debtors, their estates and their creditors. The Debtors do not have sufficient available

sources of working capital and financing to effectuate their strategic chapter 11 goals and

pay all administrative expenses. Consummating the financing contemplated by the DIP

Term Sheet pursuant to the terms of this Interim Order therefore is in the best interest of

the Debtors, their estates, and stakeholders.

          iv. No Credit Available on More Favorable Terms.                  Based on the

representations in the First Day Declaration, the record of the hearing on the Motion (the

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“Interim Hearing”), given the Debtors’ financial condition and capital structure: (i) the

Debtors are unable to reasonably obtain postpetition financing from sources other than the

DIP Lender on terms more favorable than those set forth in the DIP Facility Documents;

(ii) the Debtors have been unable to reasonably obtain unsecured credit allowable under

section 503(b)(1) of the Bankruptcy Code as an administrative expense; (iii) alternative

postpetition secured financing was not available to the Debtors; and (iv) the DIP Lender is

unwilling to extend DIP Financing without being granted perfected security interests in,

and liens on (each as provided herein), all of the Debtors’ existing and after-acquired assets

with the priorities set forth herein and the other protections set forth in this Interim Order.

           v. Use of Proceeds.

                   a.    As a condition to entry into the DIP Facility Documents and the
                        extension of credit under the DIP Facility, the DIP Lender requires,
                        and the Debtors have agreed, that proceeds of the DIP Facility shall
                        be used in accordance with the terms of the DIP Facility Documents,
                        including the Approved Budget, attached hereto as Exhibit 2, which
                        shall be subject to (x) reasonable variances, permitted by the DIP
                        Lender (the “Permitted Variance”), (y) this Interim Order (or the
                        Final Order as applicable), and (z) the Carve-Out.

                   b. The Debtors shall not directly or indirectly pay any expense or other
                      disbursement other than those set forth in the Approved Budget
                      (other than expenses with respect to the Carve-Out) unless in
                      compliance with the Permitted Variance or otherwise permitted or
                      directed by an order of the Court.

                   c. The proceeds of the DIP Facility shall be used solely as provided in
                      the DIP Term Sheet, including, to the extent provided therein, to
                      fund the (i) administration of the Chapter 11 Cases, (ii) orderly
                      winding down of operations and liquidation of the assets of the
                      Liquidating Debtors, (iii) Reorganizing Debtor’s business in the
                      ordinary course during the Chapter 11 Cases, and (iv) payment of
                      Administrative Expense Claims (including professional fee claims
                      and 503(b)(9) claims), Priority Tax Claims, and Other Priority
                      Claims (as such terms are defined in the Approved Plan).



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           vi. Willingness to Provide Financing.        The DIP Lender has indicated a

willingness to provide financing to the Debtors subject to the entry of this Interim Order,

and conditioned upon the entry of the Final Order, including findings that such financing

is essential to the Debtors’ estates, that the DIP Lender is extending credit to the Debtors

as set forth in the DIP Facility Documents in good faith, and that the DIP Lender’s claims,

security interests, liens, rights, and other protections will have the protections provided in

section 364(e) of the Bankruptcy Code. As a condition to the entry into the DIP Facility

Documents and the extension of credit under the DIP Facility, the Debtors and the DIP

Lender have agreed that proceeds of the Collateral and all payments and collections

received by the Debtors shall be applied solely as set forth in the DIP Facility Documents.

          vii. Business Judgment and Good Faith Pursuant to Section 364(e). Based on

the representations in the First Day Declaration, the record of the Interim Hearing, the

extension of credit under the DIP Facility and the DIP Facility Documents, including the

DIP Term Sheet, is fair, reasonable, and the best available to the Debtors under the

circumstances, reflects the Debtors’ sound exercise of their business judgment, is supported

by reasonably equivalent value and consideration, and was entered into at arms’ length,

under no duress, and without undue influence. Based on the representations in the First

Day Declaration, the record of the Interim Hearing, the DIP Facility and the DIP Facility

Documents, including the DIP Term Sheet, were negotiated in good faith and at arms’-

length between the Debtors and the DIP Lender, with respect to all actions taken by them

in connection with or related in any way to negotiation, implementing, documenting, or

obtaining the requisite approvals of the DIP Facility, including with respect to the granting

of the DIP Liens, any challenges or objections to the DIP Facility and all documents related

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to any and all transactions contemplated by the foregoing. Any credit to be extended as set

forth in the DIP Facility Documents shall be deemed to have been so allowed, advanced,

made, used, or extended in good faith, and for valid business purposes and uses, within the

meaning of section 364(e) of the Bankruptcy Code, and the DIP Lender is therefore entitled

to the protections and benefits of section 364(e) of the Bankruptcy Code and this Interim

Order.

         viii. Marshaling. Subject to the entry of the Final Order, in light of the Approved

Budget covering all administrative costs projected by the Debtors, the DIP Lender is

entitled to a waiver of the equitable doctrine of “marshaling” or any similar doctrine with

respect to the Collateral.

           ix. Final Hearing. At the Final Hearing, the Debtors will seek final approval

of the proposed DIP Financing pursuant to the Final Order, which shall be in the form and

substance acceptable to the DIP Lender. Notice of the Final Hearing and Final Order shall

be approved in accordance with this Interim Order and no other or further notice, except as

provided by this Interim Order, shall be required.

           x. Immediate Entry. The Debtors have requested immediate entry of this

Interim Order pursuant to Bankruptcy Rule 4001(c)(2) and Local Rule 4001-2(b). The

authorization granted herein on an interim basis to enter into the DIP Facility Documents,

and to borrow under the DIP Facility is necessary to avoid immediate and irreparable harm

to the Debtors and their estates during the period (the “Interim Period”) beginning on the

date herein through and including the earliest to occur of (i) the date of the entry of the

Final Order by this Court and (ii) the Termination Date (as defined below). This Court

concludes that the entry of this Interim Order is in the best interests of the Debtors, their

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       estates, and their creditors because it will, among other things, allow the Debtors to

       maximize the value of their assets.

                  xi. Notice. Notice of the Interim Hearing and the emergency relief requested

       in the Motion has been provided by the Debtors, whether by facsimile, email, overnight

       courier, or hand delivery, to certain parties in interest, including: (i) the Office of the United

       States Trustee for the District of Delaware; (ii) the United States Attorney for the District

       of Delaware; (iii) the parties included on the Debtors’ consolidated list of twenty (20)

       largest unsecured creditors; (iv) the Internal Revenue Service; (v) the Securities and

       Exchange Commission; (vi) Sberbank and its counsel; (vii) counsel to the proposed DIP

       Lender; (viii) all known holders of liens in the Debtors’ assets; and (ix) the Debtors’

       landlords. The notice given by the Debtors of the Motion, the relief requested therein and

       the Interim Hearing complies with Bankruptcy Rule 4001(c) and the applicable Local

       Rules, and no other or further notice of the relief granted herein is necessary or required.

       Based upon the foregoing findings and conclusions, the Motion and the record before the

Court with respect to the Motion, and good and sufficient cause appearing therefor,

       IT IS HEREBY ORDERED THAT:

       1.      Motion Granted. The Motion is GRANTED on an interim basis in accordance with

the terms of this Interim Order.

       2.      Objections Overruled. All objections to and reservations of rights with respect to

the Motion and to the entry of this Interim Order to the extent not withdrawn or resolved are hereby

overruled on the merits in their entirety or, to the extent applicable, deferred to the Final Hearing.




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DIP Facility Authorization

       3.      Authorization of the DIP Facility Documents. The Debtors are hereby authorized

to execute, issue, deliver, enter into, and adopt, as the case may be, the DIP Term Sheet and the

other DIP Facility Documents (including entering into the guaranties) to be delivered pursuant

hereto or thereto or in connection herewith or therewith. The Borrower is hereby authorized to

borrow money under the DIP Term Sheet, on an interim basis, and request extensions of credit

under the DIP Facility in accordance with the terms of this Interim Order and the DIP Term Sheet,

provided that during the Interim Period, an aggregate principal of up to $1,000,000 may be

borrowed.

       4.      Authorized Action. In furtherance of the foregoing and without further approval of

this Court, the Debtors are authorized to perform all acts, to make, execute, and deliver all

instruments and documents that may be necessary or required for performance by the Debtors

under the DIP Term Sheet and the other DIP Facility Documents and the creation and perfection

of the DIP Liens described in, provided for, and perfected by this Interim Order, the DIP Term

Sheet and the DIP Facility Documents. Subject to paragraph 11, the Debtors are hereby authorized

to pay, in accordance with this Interim Order, the principal, interest, expenses, and other amounts

described in the DIP Facility Documents as such become due and without need to obtain further

Court approval, including, without limitation, the fees and disbursements of the DIP Lender’s

attorneys, advisors, accountants, and other consultants. All fees, if any, shall be fully earned upon

entry of this Interim Order and payable in accordance with the DIP Facility Documents.

       5.      Validity of DIP Obligations. Upon entry of this Interim Order, the DIP Term Sheet

shall represent valid and binding obligations of the Debtors, enforceable against the Debtors and

their estates in accordance with its terms, and subject to the terms of this Interim Order. The DIP

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Term Sheet and this Interim Order constitute and evidence the validity and binding effect of the

obligations thereunder of the Debtors, which obligations shall be enforceable, jointly and severally,

against the Debtors, their estates, and any successors thereto, including, without limitation, any

trustee or other estate representative appointed in the Chapter 11 Cases or any case under chapter

7 of the Bankruptcy Code upon the conversion of the Chapter 11 Cases (a “Successor Case”). No

obligation, payment, transfer, or grant of a security or other interest to the DIP Lender under the

DIP Facility Documents or this Interim Order shall be stayed, restrained, voidable, or recoverable

under the Bankruptcy Code or any applicable law (including, without limitation, under section

502(d) of the Bankruptcy Code), or subject to any defense, reduction, set-off, recoupment, or

counterclaim. The obligations of the DIP Facility include all loans and other indebtedness or

obligations, contingent or absolute, now existing or hereafter arising, which may from time to time

be or become owing by the Debtor to the DIP Lender under the DIP Facility Documents, including,

without limitation, all principal, interest, costs, fees, expenses, and other amounts owed pursuant

to the DIP Facility Documents.

       6.      No Obligation to Extend Credit. The DIP Lender shall have no obligation to make

loans or advances under the DIP Facility until the conditions precedent to the closing and the

making of such extensions of credit under the DIP Term Sheet or the other DIP Facility Documents

have been satisfied in full or waived.

       7.      Use of DIP Facility Proceeds. From and after the Petition Date, the Debtors are

authorized to use the extensions of credit under the DIP Facility only for the purposes set forth in

this Interim Order, the DIP Facility Documents, and in compliance with the Approved Budget.

The Debtors authorized, subject to the satisfaction of the conditions set forth in the DIP Facility

Documents, to use proceeds of the Collateral, subject to the Carve-Out, and to draw upon to DIP

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Facility to fund the (i) administration of the Chapter 11 Cases 4, (ii) orderly winding down of

operations and liquidation of the assets of the Liquidating Debtors, (iii) Reorganizing Debtor’s

business in the ordinary course during the Chapter 11 Cases, and (iv) payment of Administrative

Expense Claims (including professional fee claims and 503(b)(9) claims), Priority Tax Claims,

and Other Priority Claims (as such terms are defined in the Approved Plan).

DIP Liens and Collateral

         8.       DIP Lien Priority.        Effective immediately upon entry of this Interim Order,

pursuant to sections 361, 362, 364(c)(2), 364(c)(3), and 364(d) of the Bankruptcy Code, and

without the necessity of the execution by the Debtors (or recordation or other filing or notice) of

security agreements, control agreements, pledge agreements, financing statements, mortgages,

schedules, or other similar documents, or the possession or control by the DIP Lender of any

Collateral, subject only to the Carve-Out, the DIP Lender is hereby granted, nunc pro tunc to the

Petition Date, a continuing valid, binding, enforceable, non-avoidable, and automatically and

properly perfected, priming first priority, postpetition security interests in and liens on

(collectively, the “DIP Liens”) any and all of the Property (as defined in the Motion) (the

“Collateral”), including, without limitation, subject to the entry of a Final Order, avoidance

actions brought pursuant to claims and causes of actions under Sections 502(d), 544, 545, 547,

548, 549, 550, 551, 553, 732(2) or 742(2) of the Bankruptcy Code.

         9.       Superpriority Claims. Upon entry of this Interim Order, the DIP Lender shall be

granted, pursuant to section 364(c)(1) of the Bankruptcy Code, an allowed superpriority

administrative expense claim in each of the Chapter 11 Cases and any Successor Case

(collectively, the “DIP Superpriority Claims”) for all DIP Liens: (a) subject only to the Carve-


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    This shall include the payment of any and all fees due under 28 U.S.C. § 1930(a)(6).
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Out, having priority over any and all administrative expense claims and unsecured claims against

the Debtors or their estates in any of the Chapter 11 Cases and any Successor Case, at any time

existing or arising, of any kind or nature whatsoever, including administrative expenses of the

kinds specified in or ordered pursuant to sections 105, 326, 328, 330, 331, 364, 365, 503(a), 503(b),

507(a), 507(b), 546(c), 546(d), 726, 1113, and 1114 of the Bankruptcy Code, and other provision

of the Bankruptcy Code, as provided under section 364(c)(1) of the Bankruptcy Code; and (b)

which shall at all times be senior to the rights of the Debtors and their estates, and any successor

trustee or other estate representative to the extent permitted by law, subject only to the Carve-Out.

       10.     Treatment of DIP Liens. For the avoidance of doubt, and other than as set forth

herein, the DIP Liens shall not be made subject to or pari passu with any lien or security interest

heretofore or hereafter granted in the Chapter 11 Cases or any Successor Case. The DIP Liens

shall be valid and enforceable against any trustee or other estate representative appointed in the

Chapter 11 Cases or any Successor Case, upon the conversion of the Chapter 11 Cases to a case

under chapter 7 of the Bankruptcy Code (or in any other Successor Case), and/or upon the

dismissal of the Chapter 11 Case or any Successor Case. The DIP Liens shall not be subject to

challenge under sections 510, 549, or 550 of the Bankruptcy Code. No lien or interest avoid and

preserved for the benefit of the Debtors’ estates pursuant to section 551 of the Bankruptcy Code

shall be pari passu with or senior to the DIP Liens.

       11.     Costs, Fees and Expenses.

               (a)     The Debtors are authorized to pay any and all reasonable out-of-pocket

expenses of the DIP Lender in connection with the DIP Facility, whether incurred before or after

the Petition Date and whether or not the transactions contemplated hereby are consummated or

such fees and expenses are set forth in the Approved Budget, including, without limitation, fees

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and expenses, subject to the Carve-Out, incurred in connection with (i) the preparation,

negotiation, and execution of the DIP Facility Documents; (ii) the funding of the DIP Facility; (iii)

the creation, perfection, or protection of the liens under the DIP Facility Documents (including all

search, filing, and recording fees); (iv) the ongoing administration of the DIP Facility Documents

(including the preparation, negotiation, and execution of any amendments, consents, waivers,

assignments, restatements, or supplements thereto) and the Chapter 11 Cases; (v) the enforcement

of the DIP Facility Documents; (vi) any refinancing or restructuring of the DIP Facility in the

nature of a “work-out” or in connection with any exit financing provided by the DIP Lender or any

of its affiliates; and (vii) any legal proceeding relating to or arising out of the DIP Facility or any

other transactions contemplated by the DIP Facility Documents, including the Chapter 11 Cases.

Payment of all such professional fees and expenses shall not be subject to allowance by the Court.

Notwithstanding the foregoing, at the same time such invoices are delivered to the Debtors, the

professionals for the DIP Lender shall deliver a copy of its invoices to counsel for any statutory

Committee and the U.S. Trustee. The invoices for such fees and expenses shall not be required to

comply with any with any particular format, may be in summary form only, and shall not be subject

to application or allowance by the Court but shall include a reasonably-detailed statement of

services rendered, time expended and expenses incurred in support of the amounts requested. Any

objections raised by the Debtors, the U.S. Trustee or any statutory Committee with respect to such

invoices within ten (10) Business Days of receipt thereof will be resolved by the Court (absent

prior consensual resolution thereof). Pending such resolution, the undisputed portion of any such

invoice shall be paid promptly by the Debtors. Such fees and expenses shall not be subject to any

offset, defense, claim, counterclaim, or diminution of any type, kind, or nature whatsoever.




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Provisions Common to DIP Financing Authorizations

       12.     Carve-Out.

               (a)     Carve-Out. As used in this Interim Order and the DIP Facility Documents,

the term “Carve-Out” shall mean the sum of: (i) all fees required to be paid to the Clerk of the

Bankruptcy Court and to the Office of the United States Trustee under section 1930(a) of title 28

of the United States Code plus interest at the statutory rate (without regard to the notice set forth

in (iii) below); (ii) all reasonable fees and expenses incurred by a trustee under Section 726(b) of

the Bankruptcy Code (without regard to the notice set forth in (iii) below); (iii) to the extent

allowed at any time, whether by interim order, procedural order, or otherwise, all unpaid fees and

expenses (the “Allowed Professional Fees”) incurred by persons or firms retained by the Debtors

or the Committee pursuant to Sections 327, 328, 363 or 1103 of the Bankruptcy Code (the

“Retained Professionals”) at any time before or on the first business day following delivery by

the DIP Lender of a Carve Out Trigger Notice (as defined below), whether allowed by the

Bankruptcy Court prior to or after delivery of a Carve Out Trigger Notice; and (iv) Allowed

Professional Fees of Retained Professionals in an aggregate amount not to exceed $50,000 incurred

after the first business day following delivery by DIP Lender of the Carve Out Trigger Notice, to

the extent allowed at any time, whether by interim order, procedural order, or otherwise (the

amounts set forth in this clause (iv) being the “Post-Carve Out Trigger Notice Cap”). For

purposes of the foregoing, “Carve Out Trigger Notice” shall mean a written notice (including

email or other electronic means) by the DIP Lender to the Debtors, their lead restructuring counsel,

and the U.S. Trustee, which notice may be delivered following the occurrence and during the

continuation of an Event of Default and acceleration of the obligations under the DIP Facility,

stating that the Post-Carve Out Trigger Notice Cap has been invoked.

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               (b)     No Direct Obligation to Pay Allowed Professional Fees; No Waiver of

Right to Object to Fees. Other than the funding of the Carve-Out with the proceeds of the DIP

Facility as provided herein and in the DIP Facility Documents, the DIP Lender shall not be

responsible for the payment or reimbursement of any fees or disbursements of any professional

incurred in connection with the Chapter 11 Cases, any Successor Case, or otherwise. Nothing in

this Interim Order or otherwise shall be construed: (i) to obligate the DIP Lender, in any way, to

pay compensation to, or to reimburse expenses of, any professional or to guarantee that the Debtors

have sufficient funds to pay such compensation or reimbursement, other than the Carve-Out; (ii)

to increase the Carve-Out if incurred or Allowed Professional Fees are higher in fact that the fees

and disbursements to the professional set forth in the Approved Budget after the delivery by the

DIP Lender of the Carve Out Trigger Notice; (iii) as consent to the allowance of any fees and

expenses of any professional; or (iv) to affect the rights of the DIP Lender or any other party in

interest to object to the allowance and payment of such fees and expenses.

               (c)     Payment of Compensation. Nothing herein shall be construed as a consent

to the allowance of any professional fees or expenses of any professional or shall affect the right

of the DIP Lender to object to the allowance and payment of such fees and expenses. So long as

no Termination Event has occurred and is continuing, the Debtors shall be permitted to pay fees

and expenses allowed and payable by order (that has not been vacated or stayed, unless the stay

has been vacated) under sections 330 and 331 of the Bankruptcy Code, as the same may be due

and payable, solely to the extent set forth in the Approved Budget and not to exceed the amounts

set forth in the Approved Budget, provided that any such payments shall be subject to entry of a

final order of the Court on final application for the allowance of fees and expenses to be filed for

each professional.

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       13.     Drafting, Execution and Modification of DIP Facility Documents. The Debtors and

the DIP Lender are hereby authorized to implement, in accordance with the terms of the DIP Term

Sheet, any non-material modifications of the DIP Term Sheet without further order of the Court;

provided, however, that copies of such modifications will be provided to the U.S. Trustee and any

statutory Committee. Upon entry of this Interim Order, all material modifications or amendments

to the DIP Term Sheet shall only be permitted pursuant to an order of this Court on notice pursuant

to Local Rule 2002-1(b) and a hearing.        Except as otherwise provided herein, no waiver,

modification, or amendment of any of the provisions of the DIP Term Sheet shall be effective

unless set forth in writing, signed on behalf of the Debtors and the DIP Lender.

       14.     Use of Proceeds; Budget Maintenance. The proceeds of the DIP Facility shall be

used solely in accordance with the terms of the DIP Term Sheet, including the Approved Budget

(subject to the Permitted Variance and the Carve-Out), and this Interim Order. The Approved

Budget shall be updated, modified, or supplemented (with the consent of and/or at the request of

the DIP Lender) from time to time, solely in accordance with the DIP Term Sheet.

       15.     Modification of Automatic Stay. The automatic stay imposed under section 362(a)

of the Bankruptcy Code is hereby modified as necessary to effectuate all of the terms and

provisions of this Interim Order, including, without limitation, to permit the Debtors to grant the

DIP Liens.

       16.     Automatic Perfection of DIP Liens.

               (a)     This Interim Order shall be sufficient and conclusive evidence of the

validity, perfection, and priority of all liens granted herein, including the DIP Liens, without the

necessity of filing or recording financing statements, intellectual property filings, mortgages,

notices of lien or similar instruments in any jurisdiction, taking possession of or control over, or

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the taking of any other action (including, for the avoidance of doubt, entering into any deposit

control agreement) to validate to perfect (in accordance with applicable non-bankruptcy law) the

DIP Liens, or to entitle the DIP Lender to the priorities granted herein.

               (b)     Notwithstanding the foregoing, the DIP Lender is hereby authorized to file

or record financing statements, intellectual property filings, mortgages, notices of lien, or similar

instruments in any jurisdiction, take possession of or control over, or take any other action, as they

may elect, in order to validate and perfect the liens and security interests granted to them hereunder.

Whether or not the DIP Lender chooses to file such financing statements, intellectual property

filings, mortgages, notices of lien, or similar instruments in any jurisdiction, take possession of or

control over, or otherwise perfect the liens and security interests granted to it hereunder, such liens

and security interests shall be deemed valid, perfected, allowed, enforceable, non-avoidable, and

not subject to challenge, dispute, or subordination immediately upon entry of this Interim Order.

               (c)     The Debtors are authorized to execute and deliver promptly upon demand

to the DIP Lender, all such financing statements, mortgages, control agreements, notices, and other

documents as the DIP Lender may reasonably request to evidence, confirm, validate, or perfect the

DIP Liens.

               (d)     The DIP Lender, in its discretion, may file a photocopy of this Interim Order

as a financing statement with any filing or recording office or with any registry of deeds or similar

office, and accordingly, each officer is authorized, to the extent permitted under applicable law, to

accept and record the photocopy of this Interim Order, in addition to or in lieu of such financing

statements, notices of lien, or similar instruments.

       17.     Proceeds of Subsequent Financing. If the Debtors, any trustee, any examiner with

enlarged powers, any responsible officer, or any other estate representative subsequently appointed

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in the Chapter 11 Cases or any Successor Case shall obtain credit or incur debt in breach of the

DIP Facility Documents at any time prior to the repayment in full of all obligations under the DIP

Facility, including subsequent to the confirmation of any plan of reorganization or liquidation with

respect to the Debtors and their estates, then all cash proceeds derived from such credit or debt

shall be turned over immediately to the DIP Lender to be applied in accordance with this Interim

Order and the DIP Term Sheet.

       18.     Maintenance of Collateral/Cash Management. Until the payment in full in cash of

all obligations of the DIP Facility, and the termination of the obligation of the DIP Lender to extend

credit under the DIP Facility, the Debtors are authorized to (a) maintain and insure the Collateral

in amounts, for the risks, and by the entities as required under the DIP Facility Documents and (b)

maintain their cash management system as in effect as of the Petition Date, (i) subject to any order

of this Court with respect to the Debtors’ cash management system, as may be modified, with the

prior written consent of the DIP Lender, by any order than may be entered by this Court; and (ii)

in a manner which, in any event, shall be reasonably satisfactory to the DIP Lender. Other than as

required expressly pursuant to the DIP Facility Documents, any order of this Court with respect to

the Debtors’ cash management system, or this Interim Order, no modifications to the Debtors’

cash management system existing as of the Petition Date may be made without the prior written

approval of the DIP Lender.

       19.     Termination Event. The occurrence of an Event of Default under the DIP Facility

Documents is referred to herein as a “Termination Event.”

       20.     Rights and Remedies Following Termination Event.

               (a)     Termination. Immediately upon the occurrence and during the continuation

of a Termination Event, the DIP Lender, without further action of this Court, may notify the

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Debtors in writing that a Termination Event has occurred and is continuing (such notice, a

“Termination Notice” and the date of any such notice, the “Termination Notice Date”).

               (b)     Notice of Termination. Any Termination Notice shall be provided by

electronic mail (or other electronic means) to counsel to the Debtors, counsel to any statutory

Committee (if one has been formed, or if one has not been formed, the Debtors’ consolidated

twenty (20) largest creditors) and the U.S. Trustee. The Remedies Notice Period shall commence

on the Termination Notice Date and shall expire five (5) business days after the Termination Notice

Date (the “Remedies Notice Period” and the date of the expiration of the Remedies Notice Period,

the “Termination Date”).

               (c)     Without limiting the rights and remedies of the DIP Lender under the DIP

Term Sheet, the DIP Lender may immediately (i) upon the occurrence of and during the continuing

of a Termination Event following the issuance of a Termination Notice or (ii) the Termination

Date, inter alia, (a) declare (x) subject to the Remedies Notice Period, all obligations owing under

the DIP Facility Documents to be due and payable immediately, without presentment, demand,

protest, or other notice of any kind, all of which are expressly waived by the Debtors, (y) the

termination, reduction, or restriction of any further commitment to extend credit to the Borrower

to the extent any such commitment remains, and (z) terminate the DIP Facility and the DIP Facility

Documents as to any future liability or obligation of any DIP Lender, but without affecting any of

the liens or the obligations (any of the actions set forth in the foregoing (x), (y), and (z), a

“Termination”); and (b) unless the Court orders otherwise during the Remedies Notice Period,

exercise all other rights and remedies provided in the DIP Facility Documents and applicable law.

               (d)     During the Remedies Notice Period, any party in interest shall be entitled to

seek an emergency hearing with this Court for the purpose of contesting a Termination, including

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whether a Termination Event has occurred and/or is continuing. During the Remedies Notice

Period, the Debtors may continue to use the Collateral in the ordinary course of business and

consistent with the most recent Approved Budget (subject to the Permitted Variance), but may not

enter into any transactions or arrangements (including, without limitation, the incurrence of

indebtedness or liens, investments, restricted payments, asset sales or transactions with non-Debtor

affiliates) that are not in the ordinary course of business or otherwise in furtherance of the

administration of the Chapter 11 Cases.

       21.     Good Faith.

               (a)     Good Faith Under Section 364 of the Bankruptcy Code; No Modification

or Stay of this Interim Order. The DIP Lender has acted in good faith in connection with this

Interim Order and its reliance on this Interim Order is in good faith. Based on the findings set

forth in this Interim Order, the record made during the Interim Hearing, and in accordance with

section 364(e) of the Bankruptcy Code, in the event any or all of the provisions of this Interim

Order are hereafter modified, amended, or vacated by a subsequent order of the Court, or any other

court of competent jurisdiction, the DIP Lender is entitled to the protections provided by section

364(e) of the Bankruptcy Code.

       22.     Proofs of Claim. Subject to entry of the Final Order, any order entered by the Court

establishing a bar date for any claims (including, without limitation, administrative claims) in the

Chapter 11 Cases or any Successor Case shall not apply to the DIP Lender (solely in its capacity

as such). Subject to entry of the Final Order, the DIP Lender (solely in its capacity as such) shall

not be required to file proofs of claim or requests for approval of administrative expenses

authorized by this Interim Order in the Chapter 11 Case or any Successor Case, and the provisions

of this Interim Order, and, upon the entry thereof, the Final Order, relating to the amount of the

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obligations under the DIP Facility and the DIP Liens shall constitute a timely proof of claim and/or

administrative expense request.

       23.     Rights of Access and Information. The Debtors shall provide the DIP Lender

and/or its representatives, agents, and/or employees, reasonable access to the Debtors’ premises,

knowledgeable officers, and their books and records, and shall reasonably cooperate, consult with,

and provide to such persons all such information as may be reasonably requested.

       24.     Prohibited Use of DIP Facility, Collateral, Carve-Out, etc. Except as may be

ordered otherwise, without the prior written consent of the DIP Lender, the DIP Facility, and the

Collateral may not be used:

               (a)     for the payment of interest and principal with respect to any prepetition
                       indebtedness of the Borrower, except for: (i) the Carve-Out; (ii) prepetition
                       employee wages, benefits, and related employee taxes as of the Petition
                       Date; (iii) prepetition sales, use, and real property taxes; (iv) prepetition
                       amounts due with respect to any insurance financings, premiums, and
                       brokerage fees; (v) payment of fees and expenses (including fees and
                       expenses of professionals) of the DIP Lender, and subject to the limitations
                       set forth in the Approved Budget; (vi) other “first day” interim and final
                       orders permitting payment of prepetition claims; (vii) cure amounts
                       reasonably acceptable to the DIP Lender under any leases or executory
                       contracts assumed with approval of the Court; and (viii) other prepetition
                       indebtedness to the extent authorized by the Court and set forth in the
                       Approved Budget;

               (b)     subject to this Interim Order (or Final Order, when applicable) in connection
                       with or to finance in any way any action, suit, arbitration, proceeding,
                       application, motion, or other litigation of any type adverse to the rights,
                       remedies, claims, or defenses of the DIP Lender under the DIP Term Sheet,
                       this Interim Order (or, where applicable, the Final Order), including
                       preventing, hindering, or otherwise delaying the exercise of any rights,
                       remedies, claims, or defenses by the DIP Lender under the DIP Term Sheet,
                       this Interim Order (or, when applicable, the Final Order) the purpose of
                       which is to seek, or the result of which would be to obtain, any order,
                       judgment, determination, declaration, or similar relief (a) invalidating,
                       setting aside, avoiding, or subordinating, in whole or in part, the obligations
                       of the DIP Facility or DIP Liens; (b) for monetary, injunctive or other
                       affirmative relief against the DIP Lender or the Collateral; or (c) preventing,
                       hindering, or otherwise delaying the exercise by the DIP Lender of any
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       rights and remedies under this Interim Order or the Final Order, the DIP
       Facility Documents, or applicable law, or the enforcement or realization
       (whether by foreclosure, further order of the Court, or otherwise) by the DIP
       Lender upon any of its Collateral.

 (c)   to make any distribution under a plan of reorganization in the Chapter
       11 Cases.

 (d)   to make any payment in settlement of any claim, action, or proceeding,
       before any court, arbitrator, or other governmental body, without prior
       written consent of the DIP Lender, unless otherwise set forth in the
       Approved Budget, or unless otherwise ordered by the Court;

 (e)   to object to, contest, or interfere with, in any way, the DIP Lender’s
       enforcement or realization upon any of the Collateral once a Termination
       Event has occurred, except as provided for in this Interim Order or the
       Final Order;

 (f)   to use or seek to use any insurance or tax refund proceeds constituting
       Collateral other than solely in accordance with the Approved Budget and
       the DIP Facility Documents;

 (g)   to incur indebtedness other than in accordance with the Approved Budget
       or the DIP Facility Documents without the prior consent of the DIP Lender;

 (h)   to object to or challenge in any way the claims, liens, or interests held by or
       on behalf of the DIP Lender;

 (i)   to assert, commence, prosecute, or support any claims or causes of action
       whatsoever, including, without limitation, any Avoidance Action, against
       the DIP Lender;

 (j)   to prosecute an objection to, contest in any manner, or raise any defenses
       to, the validity, extent, amount, perfection, priority, or enforceability of, or
       seeking equitable relief from, any of the obligations under the DIP Facility,
       the DIP Liens, or any other rights or interests of the DIP Lender;

 (k)   to sell or otherwise dispose of the Collateral other than as contemplated by
       the DIP Term Sheet; or

 (l)   for any purpose otherwise limited by the DIP Term Sheet.




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       25.     No Third-Party Rights. Except as explicitly provided for herein, this Interim Order

does not create any rights for the benefit of any third party, creditor, equity holder, or any direct,

indirect, or incidental beneficiary.

       26.     Section 552(b). Subject to the entry of the Final Order, the “equities of the case”

exception under section 552(b) of the Bankruptcy Code shall not apply to the DIP Lender with

respect to proceeds, products, offspring, or profits of any of the Collateral.

       27.     No Marshaling/Application of Proceeds. Upon entry of the Final Order, the DIP

Lender shall not be subject to the equitable doctrine of “marshaling” or any other similar doctrine

with respect to any of the Collateral.

       28.     505(c) Waiver. Upon entry of the Final Order, the Debtors shall irrevocably waive

and shall be prohibited from asserting any surcharge claim, under section 506(c) of the Bankruptcy

Code or otherwise, for any costs and expenses incurred in connection with the preservation,

protection, or enhancement of, or realization by the DIP Lender upon the Collateral.

       29.     Discharge Waiver. The Debtors expressly stipulate, and the Court finds and

adjudicates, that none of the obligations under the DIP Facility or the DIP Liens shall be discharged

by the entry of an order confirming any plan of reorganization or liquidation, notwithstanding the

provisions of section 1141(d) of the Bankruptcy Code, unless the obligations under the DIP

Facility have been paid in full in cash on or before the effective date of a confirmed plan of

reorganization or liquidation. Except as otherwise agreed to by the DIP Lender, the Debtors shall

not propose or support any plan or sale of all or substantially all of the Debtors’ assets or entry of

any confirmation order or sale order that is not conditioned upon the payment in full, in cash, of

all obligations under the DIP Facility without the express written consent of the DIP Lender.




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       30.       Rights Preserved. Other than as expressly set forth in this Interim Order, any other

rights, claims or privileges (whether legal, equitable, or otherwise) of the DIP Lender

are preserved.

       31.       Release. Subject to the entry of the Final Order, the Debtors, on behalf of

themselves and their estates (including any successor trustee or other estate representative in the

Chapter 11 Cases or any Successor Case) and any party acting by or through the Debtors or their

estates, hereby stipulate and agree that they forever and irrevocably (a) release, discharge, waive,

and acquit the DIP Lender, and each of their respective participants and each of their respective

affiliates, and each of their respective former, current, or future officers, employees, directors,

agents, representatives, owners, members, partners, financial advisors, legal advisors,

shareholders, managers, consultants, accountants, attorneys, affiliates, successors, assigns, and

predecessors in interest (collectively, and in each case in their capacities as such, the “Released

Parties”), from any and all claims, demands, liabilities, responsibilities, disputes, remedies, causes

of action, indebtedness, and obligations, rights, assertions, allegations, actions, suits,

controversies, proceedings, losses, damages, injuries, attorneys’ fees, costs, expenses, or

judgments of every type, whether known, unknown, asserted, unasserted, suspected, unsuspected,

accrued, unaccrued, fixed, continent, pending, or threatened, including, without limitation, all legal

and equitable theories of recovery, arising under common law, statute, or regulation, or by contract,

of every nature and description, arising out of, in connection with, or relating to the negotiation,

documentation, or execution of the DIP Facility, the DIP Term Sheet, the DIP Facility Documents,

or the transactions contemplated hereunder or thereunder, including, without limitation, (i) any so-

called “lender liability” or equitable subordination claims or defenses, (ii) any and all claims and

causes of action arising under the Bankruptcy Code, and (iii) any and all claims and causes of

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action regarding the validity, priority, perfection, or avoidability of the liens or secured claims of

the DIP Lender, and (b) waive any and all defenses (including, without limitation, offset and

counterclaims of any nature or kind) as to the validity, perfection, priority, enforceability, and

nonavoidability of the obligations under the DIP Facility and the DIP Liens.

       32.     No Waiver by Failure to Seek Relief. Immediately upon entry by the Court

(notwithstanding any applicable law or rule to the contrary) and the occurrence of the DIP Closing

Date, the terms and the provisions of this Interim Order, including the liens granted herein shall,

nunc pro tunc to the Petition Date, become valid and binding upon and inure to the benefit of the

Debtors, the DIP Lender, all other creditors of the Debtors, any statutory Committee or any other

duly appointed committee in the Chapter 11 Cases, the U.S. Trustee, and all other parties in interest

and their respective successors and assigns, including any trustee or other fiduciary hereafter

appointed in the Chapter 11 Cases, any Successor Case, or upon dismissal of the Chapter 11 Cases

or any Successor Case.

       33.     Interim Order Control. This Interim Order shall constitute this Court’s findings of

fact and conclusions of law based upon the record of the Chapter 11 Cases at the Interim Hearing

and shall, upon its entry by this Court, take effect and be fully enforceable nunc pro tunc to the

Petition Date. There shall be no stay of execution or effectiveness of this Interim Order,

notwithstanding anything to the contrary in the Bankruptcy Rules or other applicable law; any

applicable stay is hereby waived. In the event of any inconsistency between the terms and

conditions of the DIP Term Sheet, the DIP Facility Documents, or this Interim Order, the

provisions of this Interim Order shall govern and control.

       34.     Survival. The provisions of this Interim Order and any actions taken pursuant

hereto shall survive entry of any order which may be entered: (a) confirming any plan of

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reorganization in the Chapter 11 Cases; (b) converting the Chapter 11 Cases to a case under

chapter 7 of the Bankruptcy Code; (c) dismissing the Chapter 11 Cases or any Successor Case; or

(d) pursuant to which the Court abstains from hearing the Chapter 11 Cases or any Successor Case.

The terms and provisions of this Interim Order, including the claims, liens, security interests, and

other protections granted by the DIP Lender pursuant to this Interim Order, notwithstanding the

entry of any such order, shall continue in the Chapter 11 Cases, in any Successor Case, or following

dismissal of the Chapter 11 Cases or any Successor Case, and shall maintain their priority as

provided by this Interim Order until all obligations under the DIP Facility have been paid in full.

       35.     Cooperation Among the Parties. Except in the event not reasonably practicable,

the Debtors shall provide copies of all substantive motions, applications, other pleadings, and

proposed forms of order with respect thereto (all of which shall be in form and substance

reasonably acceptable to the DIP Lender) to the DIP Lender prior to the filing of any such

substantive motions, applications, other pleadings, and proposed forms of order with respect

thereto with the Court.

       36.     Preservation of Rights Granted Under this Interim Order.

               (a)     Except as provided expressly herein or in the DIP Term Sheet, no claim or

lien having a priority senior to or pari passu with that granted by this Interim Order to the DIP

Lender shall be granted while any portion of the obligations under the DIP Facility remains

outstanding, and the DIP Liens shall not be subject to or junior to any lien or security interest that

is avoided and preserved for the benefit of the Debtors’ estates under section 551 of the Bankruptcy

Code or subordinate to or made pari passu with any other lien or security interest, whether under

section 364(d) of the Bankruptcy Code or otherwise.




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                (b)     Unless all obligations under the DIP Facility shall have been indefeasibly

paid in full, the Debtors shall not seek, and it shall constitute an Event of Default under the DIP

Term Sheet, if the Debtors seek, or if there is entered (i) any stay, vacatur, rescission, or

modification of this Interim Order or the Final Order without the prior written consent of the DIP

Lender, and no such consent shall be implied by any other action, inaction, or acquiescence by the

DIP Lender, (ii) an order converting the Chapter 11 Cases to a case under chapter 7 of the

Bankruptcy Code or dismissing any of these Chapter 11 Cases, or (iii) unless otherwise approved

by the DIP Lender, an order granting a change of venue with respect to the Chapter 11 Cases or

any related adversary proceeding. If an order dismissing the Chapter 11 Cases under section 1112

of the Bankruptcy Code or otherwise is at any time entered, (x) the DIP Liens shall continue in

full force and effect and shall maintain their priorities as provided in this Interim Order until all

obligations under the DIP Facility shall have been paid and satisfied in full, and shall,

notwithstanding such dismissal, remain binding on all parties in interest, and (y) this Court shall

retain jurisdiction, to the extent it has jurisdiction, notwithstanding such dismissal, for the purposes

of enforcing the claims, liens, and security interests referred to in clause (x) above.

                (c)     The DIP Lender shall be entitled to all of the rights, remedies, privileges,

and benefits granted in section 364(e) of the Bankruptcy Code, this Interim Order, and pursuant to

the DIP Term Sheet and the DIP Facility Documents with respect to all such uses of the Collateral

and all obligations under the DIP Facility.

                (d)     Nothing contained in this Interim Order shall limit the Debtors’

fiduciary duties.

        37.     Final Hearing. The Final Hearing to consider entry of the Final Order and approval

of the DIP Facility on a final basis is scheduled for [___________] at [___[ [_].m. (prevailing

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Eastern Time) before The Honorable Mary F. Walrath, United States Bankruptcy Judge, at the

United States Bankruptcy Court for the District of Delaware, 824 North Market Street, Fifth Floor,

Court Room 4, Wilmington, Delaware 19801.

        38.     Notice of Final Hearing. Within three (3) Business Days of the date of the entry of

this Interim Order, the Debtors shall serve, by the United States mail, first-class postage prepaid,

a copy of the Motion and this Interim Order upon: (i) the Office of the United States Trustee for

the District of Delaware; (ii) the United States Attorney for the District of Delaware; (iii) the parties

included on the Debtors’ consolidated list of twenty (20) largest unsecured creditors; (iv) the

Internal Revenue Service; (v) the Securities and Exchange Commission; (vi) Sberbank and its

counsel; (vii) counsel to the proposed DIP Lender; and (viii) all known holders of liens in the

Debtors’ assets; (ix) the Debtors’ landlords.

        39.     Objection Deadline. Objections, if any, to the relief sought in the Motion, on a final

basis, shall be in writing, shall be set forth with particularity the grounds for such objections or

other statements of position, shall be filed with the clerk of the Court, and personally served upon:

(a) proposed counsel to the Debtors; (b) the U.S. Trustee; (c) proposed counsel to any statutory

Committee; and (d) counsel to the DIP Lender, so that such objections are filed with the Court and

received by said parties on or before 4:00 p.m., prevailing Eastern Time on [_____________] with

respect to entry of the Final Order.

        40.     Retention of Jurisdiction. This Court shall retain jurisdiction relating to and arising

out of the interpretation, implementation, or enforcement of this Interim Order.




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              EXHIBIT 1
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                                                                                  EXECUTION VERSION


                                           JUNO USA LP, et al.

                     SUMMARY OF TERMS AND CONDITIONS FOR A $4,500,000
               SENIOR SECURED SUPERPRIORITY DEBTOR-IN-POSSESSION FINANCING

  The following describes the terms of a debtor-in-possession financing (“DIP Facility”) to be provided
  to GT Forge, Inc. (“GT Forge” or the “Reorganizing Debtor”), Juno Oregon LLC (“Juno Oregon”),
  Juno USA, LP (“Juno USA”), Omaha LLC (“Omaha”), Vulcan Cars LLC (“Vulcan”) and Sabo One
  LLC (“Sabo One”, and collectively with Juno Oregon, Juno USA, Omaha, Vulcan and Sabo One, the
  “Liquidating Debtors”, and together with the Reorganizing Debtor, the “Debtors”) during the pendency
  of the cases filed under Chapter 11 (“Chapter 11 Cases”) of the United States Bankruptcy Code (the
  “Bankruptcy Code”).

  This term sheet (the “Term Sheet”) is non-binding and is intended for discussion purposes only and
  does not constitute a commitment to lend. The DIP Lender’s (as defined below) commitment and other
  obligations hereunder are subject to satisfaction or waiver (by the DIP Lender in its sole discretion) of the
  following: (i) the preparation, execution and delivery of mutually acceptable loan documentation, which
  shall take the form of this Term Sheet and that certain Superpriority Debtor-in-Possession Secured
  Promissory Note, incorporating substantially the terms and conditions outlined in this Term Sheet (“DIP
  Facility Documents”); (ii) the accuracy and completeness of all representations that the Loan Parties (as
  defined below) make to the DIP Lender and all information that such furnish to the DIP Lender; (iii) the
  Loan Parties’ compliance with the terms of this Term Sheet, including, without limitation, the payment in
  full of all fees, expenses and other amounts payable hereunder; and (iv) the other conditions set forth in
  this Term Sheet or referred to in Appendix I. Except as expressly provided in any binding written
  agreement the parties may enter into in the future, upon approval of the United States Bankruptcy Court
  for the District of Delaware (the “Bankruptcy Court”), no past, present or future action, course of
  conduct, or failure to act relating to the transactions or proposals referred to in this Term Sheet or
  relating to the negotiation of the terms of such transactions or proposals shall give rise to or serve as
  the basis for any obligation or other liability on the part of the DIP Lender. The terms and conditions
  set forth herein are mutually dependent on each other, and the DIP Lender shall not be obligated to
  extend credit unless agreement with the Loan Parties and approval by the Bankruptcy Court is obtained
  with respect to such terms and conditions as a whole.

  Borrower                 Juno USA, LP, as a debtor and debtor in possession in the Chapter 11 Cases (the
                           “Borrower”).



  Guarantors               Debtors other than the Borrower.

                           The Borrower and Guarantors are collectively referred to herein as the “Loan
                           Parties”.

  DIP Lender               GT Gettaxi Limited or an affiliate entity thereof (the “DIP Lender”).

  Amount                   The DIP Facility shall comprise a term loan in an aggregate principal amount of
                           up to $4,500,000 (the “Commitment”).

                           An initial amount of $1,000,000 will be made available upon entry of an interim
                           order of the Bankruptcy Court, in form and substance satisfactory to the DIP
                           Lender in its sole discretion, approving the financing (the “Interim Order”) and
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                       the date the Bankruptcy Court enters the Interim Order. The remainder of the
                       facility will be made available subject to entry of an order of the Bankruptcy
                       Court, in form and substance satisfactory to the DIP Lender in its sole discretion,
                       approving the DIP Facility on a final basis (the “Final Order”, and together with
                       the Interim Order, the “DIP Orders”).

                       The DIP Facility is provided for the purposes listed under “Use of Proceeds”
                       below in accordance with the Approved Budget (as defined below).

  Approved Budget      The 13-week statement of receipts and disbursements for the next 13 weeks of
                       the Loan Parties, broken down by week, including the anticipated uses of the
                       DIP Facility for such period (“Approved Budget”), and thereafter at the end of
                       each week an updated 13-week projection for the subsequent 13-week period
                       (which in each case must be satisfactory to the DIP Lender in its sole discretion).

                       The DIP Loans shall be funded into a cash collateral account at a depository
                       approved by the DIP Lender, and the amounts in the account that may be drawn
                       out during each week will be limited to the maximum amount of DIP Loans
                       projected to be utilized during such week in accordance with the Approved
                       Budget.

                       The Debtors shall provide a budget variance report/reconciliation (the “Budget
                       Variance Report”) by 12:00 p.m. prevailing Eastern Time on Wednesday of
                       each week for the week most recently ended: (i) showing by line item actual
                       cash receipts, disbursements, professional fees, capital expenditures, and
                       billings for the immediately preceding week, the immediately preceding rolling
                       four-week, cumulative period on and after the entry of the Interim Order, noting
                       therein all variance, on a line-item basis, from amounts set forth for such period
                       in the Approved Budget, and shall include explanations for all material variance
                       for such week; and (ii) certified by a responsible officer of the Debtors.

  Priority and Liens   All obligations under the DIP Facility, subject to the Carve-Out (as defined
                       below), shall at all times:

                       (i) pursuant to Section 364(c)(1) of the Bankruptcy Code, be entitled to
                       superpriority claim status having priority over any and all other claims;

                       (ii) pursuant to Section 364(c)(2) of the Bankruptcy Code, be secured by a
                        perfected first-priority lien on all unencumbered now-owned or after-acquired
                        Property (as defined below) of the Loan Parties that are not otherwise subject
                        to any lien; and

                       (iii) pursuant to Section 364(c)(3) of the Bankruptcy Code, be secured by a
                       perfected junior lien on all now-owned or after-acquired Property of the Loan
                       Parties that are subject to (x) any valid, perfected and non-avoidable lien in
                       existence on the Filing Date, or (y) any valid lien in existence on the Filing Date
                       that is perfected subsequent to the Filing Date by Section 564(b) of the
                       Bankruptcy Code.

                       (iv) pursuant to Section 364(d) of the Bankruptcy Code, be secured by a
                       perfected priming lien on all now-owned or after-acquired Property of the Loan
                       Parties, including Sberbank’s first-priority lien against all of GT Forge’s assets,
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                      subject to (x) any valid, perfected and non-avoidable lien in existence on the
                      Filing Date, or (y) any valid lien in existence on the Filing Date that is perfected
                      subsequent to the Filing Date by Section 564(b) of the Bankruptcy Code.

                      The assets described above, collectively, the “Collateral”.

                      “Property” shall mean, with respect to any of the Loan Parties, all real and
                      personal property of such Loan Party including, without limitation, (i) all cash,
                      money, cash equivalents, deposit accounts, securities accounts, accounts, other
                      receivables, chattel paper, contract rights, goods and inventory (wherever
                      located), instruments, documents, securities (whether or not marketable) and
                      investment property (including, without limitation, all of the issued and
                      outstanding capital stock of each of its subsidiaries), furniture, fixtures,
                      equipment, franchise rights, trade names, trademarks, servicemarks, copyrights,
                      patents, intellectual property, general intangibles of any kind, rights to the
                      payment of money, supporting obligations, guarantees, general intangibles,
                      letter of credit rights, other than the letters of credit collateralized by an account
                      at Citibank, commercial tort claims, causes of action and all substitutions, books
                      and records related to the foregoing, and accessions and proceeds of the
                      foregoing, wherever located, including insurance or other proceeds; (ii) all
                      owned real property, all leased real property, all rents and leases from any real
                      property interests, and all other proceeds of real property; (iii) subject to the
                      entry of a Final Order, avoidance actions brought pursuant to claims and causes
                      of actions under Sections 502(d), 544, 545, 547, 548, 549, 550, 551, 553, 732(2)
                      or 742(2) of the Bankruptcy Code; (iv) subject to the entry of a Final Order,
                      rights under Section 506(c) of the Bankruptcy Code and (v) all proceeds of the
                      foregoing. For the avoidance of doubt, the DIP Collateral shall include all the
                      foregoing rights, property, claims, and interests, without regard as to whether
                      such rights, property, claims, and interests came into the Loan Parties’ estates,
                      or otherwise arose, after the Filing Date.

                      All of the DIP Liens described herein with respect to the assets of the Loan
                      Parties shall be effective and perfected by the Interim Order and the Final Order
                      and without the necessity of the execution of mortgages, security agreements,
                      pledge agreements, financing statements or other agreements.
  Carve-Out           The Carve Out is the sum of: (i) all fees required to be paid to the Clerk of the
                      Bankruptcy Court and to the Office of the United States Trustee under section
                      1930(a) of title 28 of the United States Code plus interest at the statutory rate
                      (without regard to the notice set forth in (iii) below); (ii) all reasonable fees and
                      expenses incurred by a trustee under Section 726(b) of the Bankruptcy Code
                      (without regard to the notice set forth in (iii) below); (iii) to the extent allowed
                      at any time, whether by interim order, procedural order, or otherwise, all unpaid
                      fees and expenses (the “Allowed Professional Fees”) incurred by persons or
                      firms retained by the Debtors or the Committee pursuant to Sections 327, 328,
                      363 or 1103 of the Bankruptcy Code (the “Retained Professionals”) at any time
                      before or on the first business day following delivery by the DIP Lender of a
                      Carve Out Trigger Notice (as defined below), whether allowed by the
                      Bankruptcy Court prior to or after delivery of a Carve Out Trigger Notice; and
                      (iv) Allowed Professional Fees of Retained Professionals in an aggregate
                      amount not to exceed $50,000 incurred after the first business day following
                      delivery by DIP Lender of the Carve Out Trigger Notice, to the extent allowed
                                                 3

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                     at any time, whether by interim order, procedural order, or otherwise (the
                     amounts set forth in this clause (iv) being the “Post-Carve Out Trigger Notice
                     Cap”). For purposes of the foregoing, “Carve Out Trigger Notice” shall mean a
                     written notice (including email or other electronic means) by the DIP Lender to
                     the Debtors, their lead restructuring counsel, and the U.S. Trustee, which notice
                     may be delivered following the occurrence and during the continuation of an
                     Event of Default and acceleration of the obligations under the DIP Facility,
                     stating that the Post-Carve Out Trigger Notice Cap has been invoked.

  DIP Closing Date   The date on or after the entry of the Interim Order on which the “Conditions to
                     DIP Closing” described in Appendix I hereto (excluding “Conditions to Final
                     Loan”) hereto have been satisfied or waived by the DIP Lender (the date of such
                     closing, the “DIP Closing Date”).

  Maturity           The DIP Loans shall be repaid in full, and the Commitment shall terminate, on
                     the earliest to occur (the “Maturity Date”) of (i) the date that is 45 days after
                     entry of the Interim Order by the Bankruptcy Court, if Final DIP Order has not
                     been entered by the Bankruptcy Court on or prior to such date, (ii) the date the
                     Bankruptcy Court orders the conversion of the bankruptcy case of any of the
                     Loan Parties to a Chapter 7 liquidation or the dismissal of the bankruptcy case
                     of any Loan Party, (ii) the acceleration of the DIP Loans and the termination of
                     the Commitment under the DIP Facility, (iii) the sale of all or substantially all
                     of the Loan Parties’ assets, (iv) the effective date of the joint plans of
                     reorganization and liquidation for the Loan Parties; and (v) 180 days after the
                     Filing Date (the “Outside Date“).

  Use of Proceeds    Subject to the terms and conditions herein, the proceeds of DIP Facility will be
                     used in accordance with the terms of the Approved Budget, including, without
                     limitation, to fund the (i) administration of the Chapter 11 Cases, (ii) orderly
                     winding down of operations and liquidation of the assets of the Liquidating
                     Debtors, (iii) Reorganizing Debtor’s business in the ordinary course during the
                     Chapter 11 Cases, and (iv) payment of Administrative Expense Claims
                     (including professional fee claims and 503(b)(9) claims), Priority Tax Claims
                     and Other Priority Claims (each such term as defined in the Approved Plan).

                     No portion of the Borrowers’ cash collateral and other cash (collectively, the
                     “Cash Collateral”), the DIP Loans, the Collateral or the Carve-Out may be used
                     to investigate, commence or prosecute any action, proceeding or objection with
                     respect to or related to (1) the claims, liens or security interests of the DIP
                     Lender, (2) any claims, demands, liabilities, responsibilities, disputes, remedies,
                     causes of action, indebtedness or obligations that are subjects of the Release (as
                     defined below), or (3) certain stipulations to be made by the Loan Parties and
                     approved by the Interim DIP Order.

  Interest Rate      All amounts outstanding under the DIP Facility will PIK interest at a fixed rate
                     equivalent to the LIBOR Rate plus 8% per annum, which fixed rate shall be
                     determined as of the DIP Closing Date.

                     As used herein, the term “LIBOR Rate” will have meaning customary and
                     appropriate for financings of this type, and the basis for calculating accrued
                     interest and the interest periods for loans bearing interest at the LIBOR Rate will

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                        be customary and appropriate for financings of this type; provided that in no
                        event will the LIBOR Rate be less than 1.50%.

                        During the continuance of an Event of Default, the DIP Loans and all other
                        outstanding obligations will bear interest at an additional 1% per annum above
                        the interest rate otherwise applicable.

  Voluntary             The DIP Loans may be permanently prepaid in full by the Loan Parties at any
  Prepayments           time.

  Representations       Those representations and warranties as are customary or appropriate in the
                        context of the proposed DIP Facility (including, without limitation, organization
                        and good standing, due authorization, all governmental approvals, taxes, all
                        permits, insurance, compliance with regulation, etc.) or as otherwise required by
                        the DIP Lender.

  Affirmative           The DIP Facility shall contain affirmative covenants customary or appropriate
  Covenants             in the context of the proposed DIP Facility or as otherwise required by the DIP
                        Lender.

  Negative Covenants    The DIP Facility shall contain negative covenants customary or appropriate in
                        the context of the proposed DIP Facility or as otherwise required by the DIP
                        Lender.

  Financial Covenants Compliance with the Approved Budget with actual results to be tested against
                      such Approved Budget on a rolling weekly basis.

                        The Loan Parties shall allow the DIP Lender (and its representatives,
                        professionals and consultants) access to the Loan Parties’ premises,
                        representatives and books and records during regular business hours in order to
                        monitor financial performance, Approved Budget compliance and Collateral.

  Milestones            The Loan Parties shall achieve the following milestones (the “Milestones”):

                           (i) commencement of the Chapter 11 Cases (the “Filing Date”) no later
                                than November 19, 2019;

                            (ii) filing with the Bankruptcy Court the non-consolidated, joint prearranged
                                   plans of reorganization and liquidation of the Loan Parties, in form and
                                   substance reasonably acceptable to the DIP Lender (the “Plan”) and
                                   disclosure statement (“Disclosure Statement”) within twenty (20)
                                   business days of the Filing Date;

                            (iii) obtaining entry of a Bankruptcy Court order, in form and substance
                                  satisfactory to the DIP Lender, approving the Disclosure Statement
                                  within eighty (80) days of the Filing Date;

                            (iv) obtaining entry of a Bankruptcy Court order, in form and substance
                                 satisfactory to the DIP Lender, confirming the Plan within one hundred
                                 and twenty (120) days of the Filing Date;


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                          (v) the effective date of the Plan shall be within ten (10) days of entry of an
                                order confirming the Plan, and in any event, no more than one hundred
                                and thirty (130) days following the Filing Date; and

                          (vi) the repayment in full of the DIP Loans by the Outside Date.

  Waivers             The Final DIP Order shall provide customary waivers in favor of the DIP
                      Lender, including waivers of (i) automatic stay in connection with the DIP
                      Lender’s enforcement of remedies upon an Event of Default, (ii) any surcharge
                      of costs or expenses with respect to the DIP Lender’s interest in the Collateral
                      under Sections 506(c) and 552 of the Bankruptcy Code and (iii) the equitable
                      doctrine of marshaling.
  Events of Default   The DIP Facility shall contain events of default customary or appropriate in the
                      context of the proposed DIP Facility or as otherwise required by the DIP Lender
                      (the “Events of Default”), including, without limitation: (i) any amendment,
                      supplement or other modification to the Plan without the consent of the DIP
                      Lender; (ii) the entry of an order approving any Disclosure Statement in support
                      of the Plan other than the Plan, unless consented to by the DIP Lender; (iii) the
                      violation of any term, provision or condition in the Interim Order or Final Order;
                      (iv) dismissal of the Chapter 11 Cases; (v) entry of a judgment or order by the
                      Bankruptcy Court or any other court modifying, limiting, subordinating, re-
                      characterizing, or avoiding the validity, enforceability, perfection, or priority of
                      any of the Loan Parties’ obligations under the DIP Facility or the liens securing
                      the DIP Facility (or any invalidation or impairment of liens or security interests
                      of the DIP Lender shall otherwise occur), or, subject to entry of the Final Order,
                      imposing, surcharging or assessing against the DIP Lender’s interest in the
                      Collateral, any costs or expenses, whether pursuant to sections 506(c) or 552 of
                      the Bankruptcy Code; (vi) the making of any payment or disbursement that is
                      not set forth as a line item on the Approved Budget; and (vii) failure to satisfy
                      any Milestones.

  Remedies            Immediately upon the occurrence and during the continuation of an Event of
                      Default, the DIP Lender may, (i)(a) declare all obligations to be immediately
                      due and payable, (b) declare the termination, reduction or restriction of any
                      further Commitment, to the extent any such Commitment remains, and (c)
                      terminate the DIP Facility as to any future liability or obligation of the DIP
                      Lender, but without affecting any of the obligations under the DIP Facility, the
                      liens under the DIP Facility, or post-petition administrative superpriority claim
                      status; and (ii) declare a termination, reduction or restriction on the ability of the
                      Loan Parties to use any cash collateral derived solely from the proceeds of
                      Collateral (any such declaration shall be made to the Loan Parties, the official
                      committee of creditors of the Loan Parties (if applicable) and the United States
                      Trustee (if applicable)).

  Release             The Loan Parties will provide customary releases for any claims, demands,
                      liabilities, responsibilities, disputes, remedies, causes of action, indebtedness or
                      obligations related to or arising out of the DIP Loans (the “Release”).




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  Indemnity               The Loan Parties shall, jointly and severally, be obligated to indemnify and hold
                          harmless the DIP Lender, and its officers, directors, fiduciaries, employees,
                          agents, advisors, attorneys and representatives from and against all losses,
                          claims, liabilities, damages, and expenses (including, without limitation, out-of-
                          pocket fees and disbursements of counsel) in connection with any investigation,
                          litigation or proceeding, or the preparation of any defense with respect thereto,
                          arising out of or relating to the DIP Facility or the transactions contemplated in
                          this Term Sheet.
  Governing Law           The DIP Loans Documents will provide that the Loan Parties will submit to the
                          non-exclusive jurisdiction and venue of the Bankruptcy Court, or in the event
                          that the Bankruptcy Court does not have or does not exercise jurisdiction, then
                          in any state or federal court of competent jurisdiction in the State of Delaware;
                          and shall waive any right to trial by jury.

                          Delaware law shall govern the DIP Loans Documents except to the extent
                          preempted by federal bankruptcy laws.



The preceding summary of proposed terms and conditions is not intended to be all-inclusive. Any terms
and conditions that are not specifically addressed above would be subject to future negotiations with the
DIP Lender and comprehensive documentation of the transaction that is acceptable to the DIP Lender will
have to be prepared.



                                            [signature pages follow]




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                IN WITNESS WHEREOF, the undersigned have caused this Term Sheet to be executed
and delivered by their duly authorized officers, as of the date and year and at a place first above written.

                                                   JUNO USA, LP, as Borrower

                                                   By:      ___________________________

                                                   Name: Melissa S. Kibler

                                                   Title: Chief Restructuring Officer



 JUNO OREGON LLC, as a Guarantor

 By:     ___________________________

 Name: Melissa S. Kibler

 Title: Chief Restructuring Officer


 GT FORGE, INC., as a Guarantor

 By:     ___________________________

 Name: Melissa S. Kibler

 Title: Chief Restructuring Officer



 VULCAN CARS LLC, as a Guarantor

 By:     ___________________________

 Name: Melissa S. Kibler

 Title: Chief Restructuring Officer




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 SABO ONE LLC, as a Guarantor

 By:     ___________________________

 Name: Melissa S. Kibler

 Title: Chief Restructuring Officer



OMAHA LLC, as a Guarantor

By:    ___________________________

Name: Melissa S. Kibler

Title: Chief Restructuring Officer




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GT GETTAXI LIMITED, as DIP Lender

By:      ___________________________

Name:

Title:




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                                               Appendix I

                                        Conditions to DIP Closing

Conditions to Interim DIP Loan

1. Interim Order/Bankruptcy Matters.

   (a) The Chapter 11 Cases shall have been commenced in the Bankruptcy Court and all of the “first day
       orders” and all related pleadings to be entered at the time of commencement of the Chapter 11
       Cases or shortly thereafter shall have been reviewed in advance by the DIP Lender.

   (b) The Bankruptcy Court shall have entered an Interim Order as to the DIP Facility (and no appeal
       thereof shall have been filed or remain pending) which Interim Order shall be in form and substance
       satisfactory in the sole discretion of the DIP Lender and shall be in full force and effect, and shall
       not (in whole or in part) have been reversed, modified, amended, stayed, vacated, appealed or
       subject to a stay pending appeal or otherwise challenged or subject to any challenge.

   (c) All orders entered by the Bankruptcy Court, including orders pertaining to cash management , and
       all other motions and documents filed or to be filed with, and submitted to, the Bankruptcy Court
       in connection therewith shall be in form and substance satisfactory to the DIP Lender, be in full
       force and effect, and shall not (in whole or in part) have been reversed, modified, amended, stayed
       or vacated absent prior written consent of the DIP Lender.

2. Customary Closing Documents.

   (a) All costs, fees, expenses (including, without limitation, reasonable legal fees) and other
       compensation contemplated by the DIP Facility Documents and this Term Sheet to be payable shall
       have been paid to the extent due and the Loan Parties shall have complied in all respects with all
       of their other obligations to the DIP Lender.

   (b) The DIP Lender shall be satisfied that the Loan Parties have complied with all other customary
       closing conditions (unless such conditions are waived by the DIP Lender). The Loan Parties and
       the transactions contemplated by this Term Sheet shall be in compliance with all applicable laws
       and regulations.

   (c) Execution and delivery by the Loan Parties of the DIP Facility Documents evidencing the loans
       made and to be made under the DIP Facility.

   (d) Such other conditions as are reasonably requested by the DIP Lender shall have been satisfied by
       the Loan Parties.

Conditions to Final Loan

   (a) The Final Order shall have been entered by the Bankruptcy Court (and no appeal thereof shall have
       been filed or remain pending) not later than 45 days after entry of the Interim Order by the
       Bankruptcy Court, and such Final Order shall (i) have included waivers of (x) the automatic stay
       in connection with the DIP Lender’s enforcement of remedies upon an Event of Default, (y) any
       surcharge of costs or expenses with respect to the DIP Lender’s interest in the Collateral under
       Sections 506(c) and 552 of the Bankruptcy Code, and (z) the equitable doctrine of marshaling, and

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       otherwise be in form and substance satisfactory to the DIP Lender, be in full force and effect, and
       shall not have been reversed, modified, amended, stayed or vacated (in whole or in part) absent
       prior written consent of the DIP Lender and (ii) grant a perfected lien on the Collateral in favor of
       the DIP Lender on the terms and conditions set forth herein. The Final Order shall be in form and
       substance satisfactory to the DIP Lender in its sole discretion.

Conditions to All Loans:

   (a) the DIP Lender shall have received the Approved Budget, any required periodic updates pursuant
       to the Approved Budget and any variance reports, each in form and substance satisfactory to the
       DIP Lender, and the Loan Parties shall be in compliance with the Approved Budget.

   (b) The Loan Parties shall be in compliance with the DIP Orders.

   (c) The following statements shall be true and correct: (i) the representations and warranties contained
       in the DIP Facility Documents are true and correct in all material respects (unless otherwise
       qualified by materiality in which case such representations and warranties shall be true and correct
       in all respects) on and as of such date, as though made on and as of such date, except to the extent
       that any such representation or warranty expressly relates to an earlier date (in which case such
       representation or warranty shall be true and correct in all material respects (unless otherwise
       qualified by materiality in which case such representations and warranties shall be true and correct
       in all respects) on and as of such earlier date) and (ii) no Default or Event of Default shall have
       occurred and be continuing on such date, or would result from the making of such borrowing on
       such date.


Such other conditions customary or appropriate in the context of the proposed DIP Facility as may be
requested by the DIP Lender.




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              EXHIBIT 2
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Juno USA, LP et al.
DIP Budget - Summary
(Amounts in $)

Week Ending:                               11/24/19           12/1/19           12/8/19           12/15/19           12/22/19           12/29/19           1/5/20           1/12/20           1/19/20           1/26/20           2/2/20            2/9/20            2/16/20            Total
Forecast Week:                                 1                  2                 3                 4                  5                  6                 7                 8                 9                10               11                12                 13               13
Forecast / Actuals:                          Fcst.              Fcst.             Fcst.             Fcst.              Fcst.              Fcst.             Fcst.             Fcst.             Fcst.             Fcst.            Fcst.             Fcst.              Fcst.            Weeks

Receipts:
  Receivables                          $     800,000      $         -       $         -       $         -        $         -        $         -        $        -       $         -       $         -       $         -       $         -       $         -       $         -       $     800,000
  Sublet Rent                                    -                  -                 -              10,071                -                  -                 -              10,071               -                 -                 -                 -                 -              20,141
  Asset Sale Proceeds                            -                  -                 -              50,000             25,000                -                 -                 -                 -                 -                 -                 -                 -              75,000
  Other                                       25,000                -                 -                 -                  -                  -                 -                 -              25,000               -                 -                 -                 -              50,000
Total Receipts                               825,000                -                 -              60,071             25,000                -                 -              10,071            25,000               -                 -                 -                 -             945,141

Operating Disbursements [1]:
  Rent                                             -                  -           (15,000)                -                  -                  -                 -           (15,000)                -                 -                 -            (2,000)                -            (32,000)
  Payroll                                   (135,818)                 -           (33,979)                -             (8,846)          (257,359)           (8,846)                -            (8,846)           (1,500)          (58,846)                -            (8,846)          (522,887)
  Taxes/Fees                                       -           (700,000)                -                 -           (280,000)           (20,000)                -                 -                 -                 -                 -                 -                 -         (1,000,000)
  Other Vendors                              (26,000)           (26,163)          (20,000)          (20,000)           (20,000)           (20,000)          (20,000)          (20,000)          (20,000)          (20,000)          (20,000)          (20,000)          (20,000)          (272,163)
  Other Professionals                              -                  -           (15,000)                -            (10,000)                 -                 -           (15,000)                -           (40,000)                -           (15,000)                -            (95,000)
Total Operating Disbursements               (161,818)          (726,163)          (83,979)          (20,000)          (318,846)          (297,359)          (28,846)          (50,000)          (28,846)          (61,500)          (78,846)          (37,000)          (28,846)        (1,922,050)

Restructuring Disbursements:
  Professional Fees                                   -                 -                 -                  -        (145,000)           (80,000)                  -                 -                 -        (430,000)          (81,000)                  -                 -        (736,000)
  US Trustee Fees                                     -                 -                 -                  -               -                  -                   -                 -                 -         (24,324)                -                   -                 -         (24,324)
Total Restructuring Disbursements                     -                 -                 -                  -        (145,000)           (80,000)                  -                 -                 -        (454,324)          (81,000)                  -                 -        (760,324)

Financing:
   DIP Debt Fees                                      -                 -                 -                  -                  -                  -                -                 -                 -                 -                 -                 -                 -                -
   DIP Interest (Cash)                                -                 -                 -                  -                  -                  -                -                 -                 -                 -                 -                 -                 -                -
Total Financing                                       -                 -                 -                  -                  -                  -                -                 -                 -                 -                 -                 -                 -                -

Net Cash Flow                          $     663,182      $ (726,163) $           (83,979) $         40,071      $ (438,846) $ (377,359) $                  (28,846) $        (39,929) $         (3,846) $       (515,824) $       (159,846) $        (37,000) $        (28,846)    $ (1,737,232)

Cash Balance:
  Beginning Cash [2]                   $   746,825        $ 1,410,007 $          933,844 $          949,865      $  989,936 $ 551,089 $                     173,730 $         144,884 $         104,955 $         101,109 $         100,000 $        100,000 $          100,000     $   746,825
  Net Cash Flow                            663,182           (726,163)           (83,979)            40,071        (438,846)  (377,359)                     (28,846)          (39,929)           (3,846)         (515,824)         (159,846)         (37,000)           (28,846)     (1,737,232)
  DIP Draw / (Paydown)                           -            250,000            100,000                  -               -          -                            -                 -                 -           514,715           159,846           37,000             28,846       1,090,407
Ending Cash Balance                    $ 1,410,007        $ 933,844 $            949,865 $          989,936      $ 551,089 $ 173,730 $                      144,884 $         104,955 $         101,109 $         100,000 $         100,000 $        100,000 $          100,000     $ 100,000

DIP Balance:
  Beginning Balance                    $              -   $          -      $    250,239      $     350,814      $     351,485      $     352,157      $    352,831     $     353,506     $     354,183     $     354,860     $   870,747       $ 1,032,412       $ 1,071,423       $         -
  DIP Draw / (Paydown) [3]                            -        250,000           100,000                  -                  -                  -                 -                 -                 -           514,715         159,846            37,000            28,846         1,090,407
  DIP Interest (PIK)                                  -            239               574                671                673                674               675               676               678             1,171           1,819             2,011             2,078            11,939
Ending DIP Balance                     $              -   $    250,239      $    350,814      $     351,485      $     352,157      $     352,831      $    353,506     $     354,183     $     354,860     $     870,747     $ 1,032,412       $ 1,071,423       $ 1,102,346       $ 1,102,346

Notes
  [1] Based on current or anticipated expenditures, subject to further review.
  [2] Includes cash in bank and on deposit at ADP.
  [3] Interim DIP draws included as a contingency to address any delays in timing of receipts.
